      Case 1:24-cv-00313-MJT                    Document 15-2 Filed 09/04/24          Page 1 of 238 PageID #:
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         2                                   UNITED STATES DISTRICT COURT
                                               EASTERN DISTRICT OF TEXAS
                                                  BEAUMONT DIVISION



                     Peter Harris and Loni Harris,


                                      Plaintiffs,                   Case No. 1:24-cv-00313


                              v.


                     Upwintrade.com, a business                     Declaration of
                     association; David Shamlian, an                Peter Harris
                     individual; John Does 1 – 20,


                                      Defendants.



                             I, Peter Harris, state and swear as follows.

                             I.      Introduction

                             1.      My name is Peter Harris. I am of sound mind and capable of

                    making this Affidavit. I have personal knowledge of the facts stated herein.

                             2.      I am one of the plaintiffs in this matter, along with my wife, Loni

                    Harris. I am submitting this Declaration in support of our Motion for

                    Preliminary Injunction.

                             II.     Chronology & Evidence

                             3.      Our first contact with the Upwintrade scam was through

                    Facebook. An account that appeared to be operated by Orlando Bell, someone

                    my wife knew personally, made a Facebook post about how he had purchased


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      Case 1:24-cv-00313-MJT                    Document 15-2 Filed 09/04/24            Page 2 of 238 PageID #:
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                    a new home with the money he had made doing cryptocurrency trading with

                    someone named David Shamlian.

                             4.      My wife sent a direct message to the Orlando Bell account

                    inquiring about the cryptocurrency trading success alluded to in the post.

                    This person directed us to message David Shamlian on Skype and told me to

                    contact David on Skype. My wife’s Declaration in support of our Motion for

                    Preliminary Injunction attaches evidence showing her initial messages with

                    the “fake” Orlando Bell and her later messages with the “real” Orlando Bell.

                    I have reviewed my wife’s Declaration and verify that the documents she

                    provides are true and correct copies of what they purport to be.

                             5.      I soon messaged David Shamlian on Skype. Shamlian advised

                    us to make an account on www.upwintrade.com. He walked us through the

                    process of funding our own Crypto.com and Kraken accounts using U.S.

                    Dollars, then using those dollars to purchase cryptocurrency, and then

                    transferring       that     cryptocurrency    to   deposit   addresses   provided   by

                    Upwintrade. A true and correct copy of our Skype conversation with David

                    Shamlian is attached hereto as Attachment A.

                             6.      When we were considering following Shamlian’s investment

                    advice, I viewed the website at www.davidshamlian.com, the purported

                    personal website of David Shamlian. I have since learned that the images and

                    videos on this site feature an entirely different person named Ken Mack. The

                    Defendants appear to have used this individual’s social media content to



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      Case 1:24-cv-00313-MJT                    Document 15-2 Filed 09/04/24      Page 3 of 238 PageID #:
                                                            606
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                    create a fictitious persona. A true and correct copy of a site capture of

                    www.davidshamlian.com is attached hereto as Attachment B.

                             7.      From February 28, 2024, to May 18, 2024, my wife and I

                    transferred Bitcoin with a U.S.-dollar-denominated value of $654,609.84 to

                    deposit addresses provided to us by Upwintrade. A true and correct copy of

                    our transaction history, as exported from Crypto.com and Kraken, is attached

                    to this Declaration as Attachment C.

                             8.      Over time, our “trading account” at upwintrade.com showed that

                    we had made a significant profit on our “investment,” with our balance

                    reaching $6,415,665.00 by May 2024. A true and correct copy of a screenshot

                    showing this balance is attached hereto as Attachment D.

                             9.      Later, after we began to suspect that the Upwintrade platform

                    was a scam, our purported “account balance” fell to just one hundred dollars,

                    as it remains today. We received no explanation for this. A true and correct

                    copy of a complete site capture of www.upwintrade.com is attached as

                    Attachment E. I read and relied on the site’s many false statements about

                    Upwintrade’s security and transparency, which are captured in this

                    attachment.

                             10.     I eventually told Shamlian we were ready to withdraw our

                    assets from Upwintrade. At that time, Shamlian told us that we would be

                    required to pay a 10% commission directly to him before the withdrawal could

                    be processed. Contrary to what he had previously promised, he said this



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      Case 1:24-cv-00313-MJT                    Document 15-2 Filed 09/04/24      Page 4 of 238 PageID #:
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                    commission could not be paid with the assets already in our Upwintrade

                    account. Instead, we would have to transfer more than half a million dollars

                    worth of additional assets beyond what we had already sent to Upwintrade.

                             11.     In addition, we eventually received an email from Upwintrade’s

                    “customer service” stating that we needed to pay millions more in “tax” before

                    we could withdraw. A true and correct copy of that email and the document

                    Upwintrade sent along with this email are attached hereto as Attachment F.

                             12.     Through online research, we learned about pig-butchering

                    scams. We immediately understood that we had been the victims of such a

                    scam, which has only been confirmed as we have cooperated with law

                    enforcement and prosecuted this case in the months since.

                             13.     The Defendants’ scam has devastated our family financially.

                    Our savings are depleted, and we now face an uncertain financial future. We

                    are pursuing this litigation and cooperating with law enforcement in the

                    hopes that some of the assets controlled by the Upwintrade scammers might

                    be preserved for our eventual recovery.

                                               [SIGNATURE PAGE FOLLOWS]




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      Case 1:24-cv-00313-MJT                    Document 15-2 Filed 09/04/24     Page 5 of 238 PageID #:
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                                                          VERIFICATION

                             I, Peter Harris, hereby verify and declare under penalty of

                    perjury that the foregoing is true and correct.




                                                                    __________________________
                                                                    Peter Harris


                                                                    Dated: 9/1/2024




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      Case 1:24-cv-00313-MJT                    Document 15-2 Filed 09/04/24   Page 6 of 238 PageID #:
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                Attachment A - Harris - Shamlian Skype Messages


               2024/02/23 09:58:32 David Sham: <ss type="hi">(wave)</ss>
               2024/02/23 09:58:58 David Sham: Hi
               2024/02/23 10:09:56 8:live:ph2corp_2: <partlist type="ended" alt=""
               callId="f5f729b6-33ff-40ac-8242-feb303b52a1e"><part
               identity="live:ph2corp_2"><name>Peter Harris</name></part><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></part></
               partlist>
               2024/02/23 10:10:16 8:live:ph2corp_2: Hi <at
               id="8:live:.cid.50fa342aa3647427">David</at> I just calleld you.
               I&apos;ll try again
               2024/02/23 10:12:37 David Sham: <partlist type="started" alt=""
               callId="ccdadcf9-58ea-4ea8-b0f0-3f94b9bded18"><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></
               part><part identity="live:ph2corp_2"><name>Peter Harris</name></
               part></partlist>
               2024/02/23 10:12:52 David Sham: <partlist type="ended" alt=""
               callId="ccdadcf9-58ea-4ea8-b0f0-3f94b9bded18"><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</
               name><duration>14.324</duration></part><part
               identity="live:ph2corp_2"><name>Peter Harris</name><duration>14.324</
               duration></part></partlist>
               2024/02/23 10:12:58 David Sham: I called
               2024/02/23 10:13:11 8:live:ph2corp_2: <partlist type="started" alt=""
               callId="f716c7dd-d413-4bd0-a013-2ffc31afbac8"><part
               identity="live:ph2corp_2"><name>Peter Harris</name></part><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></part></
               partlist>
               2024/02/23 10:13:26 8:live:ph2corp_2: <partlist type="ended" alt=""
               callId="f716c7dd-d413-4bd0-a013-2ffc31afbac8"><part
               identity="live:ph2corp_2"><name>Peter Harris</name><duration>14.949</
               duration></part><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</
               name><duration>14.949</duration></part></partlist>
               2024/02/23 10:13:57 David Sham: Can you hear me?
               2024/02/23 10:14:19 David Sham: <partlist type="missed" alt=""
               callId="2294562c-dbc6-405f-be98-0513b24848a2"><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></
               part><part identity="live:ph2corp_2"><name>Peter Harris</name></
               part></partlist>
               2024/02/23 10:14:31 8:live:ph2corp_2: <partlist type="started" alt=""
               callId="b69499fc-77f4-459e-b032-213e57cb97c4"><part
               identity="live:ph2corp_2"><name>Peter Harris</name></part><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></part></
               partlist>
               2024/02/23 10:14:55 8:live:ph2corp_2: <partlist type="ended" alt=""
               callId="b69499fc-77f4-459e-b032-213e57cb97c4"><part
               identity="live:ph2corp_2"><name>Peter Harris</name><duration>23.383</
               duration></part><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</
               name><duration>23.383</duration></part></partlist>




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      Case 1:24-cv-00313-MJT                    Document 15-2 Filed 09/04/24   Page 7 of 238 PageID #:
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               2024/02/23 10:15:12 David Sham: I can’t hear you at all, looks like
               your mic is off
               2024/02/23 10:16:15 David Sham: <partlist type="started" alt=""
               callId="12d0d471-32c7-495f-8f21-0955f1d58ad1"><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></
               part><part identity="live:ph2corp_2"><name>Peter Harris</name></
               part></partlist>
               2024/02/23 10:17:01 David Sham: <partlist type="ended" alt=""
               callId="12d0d471-32c7-495f-8f21-0955f1d58ad1"><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</
               name><duration>45.534</duration></part><part
               identity="live:ph2corp_2"><name>Peter Harris</name><duration>45.534</
               duration></part></partlist>
               2024/02/23 10:17:17 David Sham: Can you hear me ? Because I can’t hear
               you at all
               2024/02/23 10:17:29 8:live:ph2corp_2: will call you from phone
               2024/02/23 10:18:17 David Sham: Yes, download the Skype app on your
               phone
               2024/02/23 10:19:50 8:live:ph2corp_2: <partlist type="started" alt=""
               callId="dc5c7337-25ab-4713-83a9-4d17e9b78553"><part
               identity="live:ph2corp_2"><name>Peter Harris</name></part><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></part></
               partlist>
               2024/02/23 10:31:21 8:live:ph2corp_2: <partlist type="ended" alt=""
               callId="dc5c7337-25ab-4713-83a9-4d17e9b78553"><part
               identity="live:ph2corp_2"><name>Peter Harris</name><duration>692.088</
               duration></part><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</
               name><duration>692.088</duration></part></partlist>
               2024/02/23 10:31:28 David Sham: <a href="https://
               www.crypto.com">www.crypto.com</a>
               2024/02/23 10:48:50 David Sham: Once you&apos;re verified, On your
               crypto.com, look for option on how to buy bitcoin with wire transfer.
               you will be provided with a bank information then proceed by copying
               the bank information and make wire transfer to the account provided by
               crypto.com either from your online banking or by walking inside the
               bank.
               2024/02/23 10:49:46 8:live:ph2corp_2: Great, we&apos;re waiting for
               them to verify us.
               2024/02/23 10:52:46 David Sham: If you are finding it difficult you
               can also check on YouTube on how to purchased bitcoin via wire
               transfer on crypto.com. Buy bitcoin via wire transfer is instant buy,
               every other purchase method takes 5-7 days before you can use bitcoin.
               So make to use the wire transfer option. Do you understand ?
               2024/02/23 10:53:42 David Sham: <quote author="live:ph2corp_2"
               authorname="Peter Harris" timestamp="1708706986"
               conversation="8:live:ph2corp_2" messageid="1708706986068"
               cuid="8908699823028631194"><legacyquote>[1708706986] Peter Harris: </
               legacyquote>Great, we&apos;re waiting for them to verify
               us.<legacyquote>




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               &lt;&lt;&lt; </legacyquote></quote><ss type="yes">(y)</ss>
               2024/02/23 11:00:10 8:live:ph2corp_2: Crypto.com sent us an email that
               our information is under review. Waiting on confirmation.
               2024/02/23 11:18:59 David Sham: Okay, keep me posted
               2024/02/24 10:03:59 David Sham: How’s it going ?
               2024/02/24 10:06:28 David Sham: Did you get verified yet
               2024/02/24 10:08:05 8:live:ph2corp_2: Not yet, still waiting
               2024/02/24 12:07:38 David Sham: Okay
               2024/02/24 12:52:25 8:live:ph2corp_2: Just got approved. I&apos;ll try
               to do wire transfer today. Latest, will be Monday.
               2024/02/24 16:32:33 David Sham: Okay keep me posted
               2024/02/24 16:45:44 8:live:ph2corp_2: Hi David. We completed the wife
               transfer. The money will be received Monday.
               2024/02/24 17:41:09 David Sham: Cool but hope it was from your
               personal account that matches with your information on crypto.com
               2024/02/24 18:23:25 8:live:ph2corp_2: Yes, it was my personal account
               using my first and last name. Is that what you mean?
               2024/02/25 00:10:43 8:live:ph2corp_2: What happened to your FB
               account? Loni can&apos;t find it.
               2024/02/25 05:49:19 David Sham: <quote author="live:ph2corp_2"
               authorname="Peter Harris" timestamp="1708820605"
               conversation="8:live:ph2corp_2" messageid="1708820605279"
               cuid="2358576878738488453"><legacyquote>[1708820605] Peter Harris: </
               legacyquote>Yes, it was my personal account using my first and last
               name. Is that what you mean?<legacyquote>

               &lt;&lt;&lt; </legacyquote></quote>Okay keep me posted
               2024/02/25 05:52:13 David Sham: There has been an unauthorized access
               to my facebook account. I’m currently working diligently to rectify
               the situation and restore the account back. My team have promptly
               dispatched broadcast messages to all our esteemed clients, ensuring
               that they are well-informed about the incident. It appears that you
               may not have received the communication since you have yet to commence
               trading with us.
               2024/02/26 10:04:28 David Sham: Hello, how’s it going ?
               2024/02/26 10:05:32 David Sham: The market is looking really good
               today, I hope you are able to get started today
               2024/02/26 10:14:23 8:live:ph2corp_2: Hi David,
               $$ wired, waiting for it to arrive in the crypto account.
               What do you need from us?
               2024/02/26 10:30:53 David Sham: Are you there ?
               2024/02/26 10:31:59 David Sham: Btc already hit 53K today, looking to
               hit 60K by the end of the week. Which means the whole week is going to
               be amazing
               2024/02/26 10:32:46 David Sham: <quote author="live:ph2corp_2"
               authorname="Peter Harris" timestamp="1708964063"
               conversation="8:live:ph2corp_2" messageid="1708964063293"
               cuid="14547947331927044188"><legacyquote>[1708964063] Peter Harris: </
               legacyquote>Hi David,




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      Case 1:24-cv-00313-MJT                    Document 15-2 Filed 09/04/24   Page 9 of 238 PageID #:
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               $$ wired, waiting for it to arrive in the crypto account.
               What do you need from us?<legacyquote>

               &lt;&lt;&lt; </legacyquote></quote>Once wire hit account let me know,
               it should already be in account. Maybe confirm from your bank how long
               it will take
               2024/02/26 10:35:49 8:live:ph2corp_2: Okay I&apos;ll let you know once
               it hits.
               2024/02/26 13:21:21 David Sham: Bitcoin just hit 54K
               2024/02/26 13:21:28 David Sham: I told you
               2024/02/26 16:48:02 8:live:ph2corp_2: Still waiting on the wire, bank
               said should arrive today.
               2024/02/27 08:13:11 David Sham: Okay, keep me posted
               2024/02/27 08:13:17 David Sham: BTC already at 56K
               2024/02/27 08:13:27 David Sham: The market is on it’s all time high
               run
               2024/02/27 08:13:51 David Sham: Wire is usually same day almost
               instant. Did you make a mistake with the transaction ?
               2024/02/27 08:39:54 8:live:ph2corp_2: I&apos;ll contact Support and
               find out why.
               2024/02/27 09:12:13 David Sham: Okay keep me posted
               2024/02/27 09:29:24 8:live:ph2corp_2: Crypto Support just told me it
               can take 1-5 business days to process a wire deposit.
               2024/02/27 09:29:51 David Sham: Oh that’s new. Okay lmk once it’s
               cleared
               2024/02/27 10:05:14 8:live:ph2corp_2: Wire has arrived in my account
               2024/02/27 10:12:45 8:live:ph2corp_2: $110K deposit cleared and ready
               to go.
               2024/02/27 11:46:44 David Sham: Cool, you can set up a software
               trading account with <a href="https://upwintrade.com">https://
               upwintrade.com</a>
               2024/02/27 11:47:43 David Sham: While waiting for your account to get
               verified you can purchase bitcoin with the money you funded on your
               crypto.com
               2024/02/27 11:49:10 David Sham: Once your account is verify, fund your
               account with the bitcoin and keep me posted when this is done so we
               can get started
               2024/02/27 11:54:01 David Sham: Are you there ?
               2024/02/27 11:55:30 8:live:ph2corp_2: I just signed up and waiting for
               verification.
               How many bitcoins shall I purchase?
               2024/02/27 11:58:16 8:live:ph2corp_2: I just purchased 1.9 BTC.
               2024/02/27 12:00:01 David Sham: Purchase bitcoin with the whole amount
               2024/02/27 12:01:05 8:live:ph2corp_2: I did
               2024/02/27 12:02:55 David Sham: Okay keep me posted
               2024/02/27 12:04:21 8:live:ph2corp_2: Will do.
               2024/02/27 12:09:44 David Sham: Refresh webpage to know if you are
               verified
               2024/02/27 12:10:14 David Sham: Account should verified already
               2024/02/27 12:24:30 8:live:ph2corp_2: It&apos;s verified. What&apos;s




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 10 of 238 PageID #:
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               next?
               2024/02/27 12:34:42 David Sham: You can fund your account by using the
               bitcoin you purchased on crypto.com
               2024/02/27 12:35:12 8:live:ph2corp_2: Can you walk me thru this.
               2024/02/27 12:35:21 8:live:ph2corp_2: Can we get on Skype
               2024/02/27 12:36:07 David Sham: Trades about to start, can’t get on a
               call now.
               2024/02/27 12:36:19 David Sham: On options menu select fund account
               2024/02/27 12:36:29 David Sham: You’ll see your funding Btc wallet
               address
               2024/02/27 12:36:49 David Sham: Transfer Btc from crypto.com
               To your upwin account
               2024/02/27 12:37:17 David Sham: Do you understand?
               2024/02/27 12:38:20 8:live:ph2corp_2: No.
               2024/02/27 12:39:00 8:live:ph2corp_2: I whitelisted an address.
               That&apos;s as far as I&apos;ve gotten.
               2024/02/27 12:41:59 8:live:ph2corp_2: I&apos;m stuck, I&apos;ll wait
               for when you can walk me through this. Don&apos;t want to make any
               mistakes.
               2024/02/27 12:46:26 David Sham: Did you find your wallet address in
               upwin ?
               2024/02/27 12:47:14 8:live:ph2corp_2: Is that the QR code under Fund
               Acct?
               2024/02/27 12:47:58 David Sham: Yes that’s correct
               2024/02/27 12:48:13 8:live:ph2corp_2: Okay what&apos;s next?
               2024/02/27 12:48:14 David Sham: Send bitcoin from your crypto.com to
               that address
               2024/02/27 12:49:27 8:live:ph2corp_2: Buy sell transfer are my
               options. Which one?
               2024/02/27 12:49:54 David Sham: Transfer
               2024/02/27 12:50:44 David Sham: You can also send me screenshot of
               your page
               2024/02/27 12:50:50 8:live:ph2corp_2: Under transfer, it says deposit
               or withdraw.
               Which one?
               2024/02/27 12:50:57 David Sham: Withdraw
               2024/02/27 12:52:03 8:live:ph2corp_2: Ok. And then External Wallet?
               2024/02/27 12:52:28 David Sham: Yes external wallet
               2024/02/27 12:52:48 David Sham: Copy your upwin address and input it
               there
               2024/02/27 13:00:47 8:live:ph2corp_2: Okay it&apos;s been sent.
               2024/02/27 13:01:35 David Sham: Okay keep me posted once funds in
               account
               2024/02/27 13:01:35 David Sham: Okay keep me posted once funds in
               account
               2024/02/27 13:05:48 David Sham: Did crypto send you a confirmation
               email that it has been sent ?
               2024/02/27 13:06:07 8:live:ph2corp_2: Yes
               2024/02/27 13:06:13 David Sham: Okay cool
               2024/02/27 13:06:43 David Sham: Keep me posted




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 11 of 238 PageID #:
                                                            614
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               2024/02/27 13:07:38 8:live:ph2corp_2: Will do
               2024/02/27 13:45:01 David Sham: Payment should already be in account
               2024/02/27 13:45:23 David Sham: So you can join the next trades in an
               hour
               2024/02/27 13:45:37 8:live:ph2corp_2: Payment was cancelled by Crypto
               2024/02/27 13:45:50 David Sham: What was the reason given
               2024/02/27 13:48:54 David Sham: It is strongly advised to refrain from
               disclosing your intention to utilize crypto.com or platforms like
               coinbase for trading purposes. The use of software trading is
               prohibited by these renowned platforms. Moreover, it is challenging to
               generate substantial profits through their services, prompting them to
               vigorously combat such practices, It&apos;s better to tell them
               you&apos;re sending to your other crypto wallet. much like traditional
               financial institutions oppose cryptocurrency investments.
               2024/02/27 13:50:40 8:live:ph2corp_2: Okay, I did put in comments that
               it was for upwind Trade. Could that be the reason?
               2024/02/27 13:52:37 David Sham: Yes i think so
               2024/02/27 13:53:04 David Sham: Is there a hold on your account ?
               2024/02/27 13:53:13 8:live:ph2corp_2: No hold
               2024/02/27 13:53:27 8:live:ph2corp_2: Shall I try again?
               2024/02/27 13:54:21 David Sham: Okay
               2024/02/27 13:54:25 David Sham: Try again
               2024/02/27 13:54:38 David Sham: Send 50K first
               2024/02/27 13:54:43 David Sham: Before you send the balance
               2024/02/27 13:56:09 David Sham: Kindly confirm if your upwin address
               changed. It updates sometimes. So always confirm before sending
               payment
               2024/02/27 13:58:38 8:live:ph2corp_2: I tried sending one BTC. Is that
               ok?
               2024/02/27 14:04:08 David Sham: Yes
               2024/02/27 14:05:55 David Sham: Yes that’s okay
               2024/02/27 14:18:34 David Sham: How’s it going ?
               2024/02/27 14:21:22 David Sham: I’m already placing the next trades,
               kindly let me know your progress
               2024/02/27 14:25:08 8:live:ph2corp_2: Just made another request for
               one BTC
               2024/02/27 14:54:07 8:live:ph2corp_2: It was also cancelled.
               They couldn&apos;t answer why, so a specialist will contact me in 2
               hours.
               Is this normal?
               2024/02/27 14:58:50 David Sham: Contact the customer care, to ask them
               reason why
               2024/02/27 14:59:08 David Sham: Tell them you&apos;re sending to your
               other wallet
               2024/02/27 14:59:22 David Sham: I’m not sure why, speak to the agent.
               Let them know you are sending Btc to your private wallet address
               2024/02/27 15:00:25 8:live:ph2corp_2: Ok I&apos;ll do that
               2024/02/27 15:04:15 David Sham: It should be sorted once you get a
               response
               2024/02/27 15:04:49 David Sham: What ever question you are asked, let




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 12 of 238 PageID #:
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               me know and I’ll teach you how to go over them
               2024/02/27 15:06:58 8:live:ph2corp_2: Okay got it.
               2024/02/27 16:40:40 David Sham: Did you get a response
               2024/02/27 16:41:00 8:live:ph2corp_2: Not yet
               2024/02/27 17:05:58 David Sham: Okay
               2024/02/27 17:39:40 David Sham: Nothing yet ?
               2024/02/27 17:47:29 8:live:ph2corp_2: Nothing yet
               2024/02/28 04:46:56 David Sham: Bitcoin is 59k going 60k just like i
               told you <e_m a="live:.cid.50fa342aa3647427" ts_ms="1709117192035"
               ts="1709117192" t="61"></e_m>
               2024/02/28 04:46:32 David Sham: Bitcoin is 59k going 60k just like i
               told you <e_m a="live:.cid.50fa342aa3647427" ts_ms="1709117192035"
               ts="1709117192" t="61"></e_m>
               2024/02/28 09:53:40 8:live:ph2corp_2: Just requested a smaller
               transfer amount $10k, let&apos;s see if that works.
               2024/02/28 10:09:14 David Sham: Okay keep me posted
               2024/02/28 11:22:08 8:live:ph2corp_2: <URIObject uri="https://
               api.asm.skype.com/v1/objects/0-wus-
               d8-10e90b9797c630d8f56c54d4e37a3258" url_thumbnail="https://
               api.asm.skype.com/v1/objects/0-wus-
               d8-10e90b9797c630d8f56c54d4e37a3258/views/imgt1_anim" type="Picture.1"
               doc_id="0-wus-d8-10e90b9797c630d8f56c54d4e37a3258" width="949"
               height="1687">To view this shared photo, go to: <a href="https://
               login.skype.com/login/sso?go=xmmfallback?pic=0-wus-
               d8-10e90b9797c630d8f56c54d4e37a3258">https://login.skype.com/login/
               sso?go=xmmfallback?pic=0-wus-d8-10e90b9797c630d8f56c54d4e37a3258</
               a><OriginalName v="ImportedPhoto_1709140897065.jpg"></
               OriginalName><FileSize v="606375"></FileSize><meta type="photo"
               originalName="ImportedPhoto_1709140897065.jpg"></meta></URIObject>
               2024/02/28 11:22:09 8:live:ph2corp_2: Transfer went through
               2024/02/28 11:25:10 8:live:ph2corp_2: <URIObject uri="https://
               api.asm.skype.com/v1/objects/0-wus-
               d6-09386c85c616383fecf9255e61854c4e" url_thumbnail="https://
               api.asm.skype.com/v1/objects/0-wus-
               d6-09386c85c616383fecf9255e61854c4e/views/imgt1_anim" type="Picture.1"
               doc_id="0-wus-d6-09386c85c616383fecf9255e61854c4e" width="1139"
               height="641">To view this shared photo, go to: <a href="https://
               login.skype.com/login/sso?go=xmmfallback?pic=0-wus-
               d6-09386c85c616383fecf9255e61854c4e">https://login.skype.com/login/
               sso?go=xmmfallback?pic=0-wus-d6-09386c85c616383fecf9255e61854c4e</
               a><OriginalName v="ImportedPhoto_1709141077890.jpg"></
               OriginalName><FileSize v="418244"></FileSize><meta type="photo"
               originalName="ImportedPhoto_1709141077890.jpg"></meta></URIObject>
               2024/02/28 11:25:10 8:live:ph2corp_2: Nothing shown in upwin yet.
               2024/02/28 12:00:23 David Sham: Keep me posted once funds in account
               2024/02/28 12:00:29 David Sham: Bitcoin network slow today
               2024/02/28 12:00:29 David Sham: Bitcoin network slow today
               2024/02/28 12:02:18 David Sham: I’ll advice you send all the funds
               2024/02/28 12:02:36 David Sham: So you can get started immediately it
               all goes through




                                                                                             HAR0022
     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 13 of 238 PageID #:
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               2024/02/28 12:02:46 David Sham: <quote author="live:ph2corp_2"
               authorname="Peter Harris" timestamp="1709140929"
               conversation="8:live:ph2corp_2" messageid="1709140928948"
               cuid="16853233918505623765"><legacyquote>[1709140929] Peter Harris: </
               legacyquote><URIObject uri="https://api.asm.skype.com/v1/objects/0-
               wus-d8-10e90b9797c630d8f56c54d4e37a3258" url_thumbnail="https://
               api.asm.skype.com/v1/objects/0-wus-
               d8-10e90b9797c630d8f56c54d4e37a3258/views/imgt1_anim" type="Picture.1"
               doc_id="0-wus-d8-10e90b9797c630d8f56c54d4e37a3258" width="949"
               height="1687">To view this shared photo, go to: <a href="https://
               login.skype.com/login/sso?go=xmmfallback?pic=0-wus-
               d8-10e90b9797c630d8f56c54d4e37a3258">https://login.skype.com/login/
               sso?go=xmmfallback?pic=0-wus-d8-10e90b9797c630d8f56c54d4e37a3258</
               a><OriginalName v="ImportedPhoto_1709140897065.jpg"></
               OriginalName><FileSize v="606375"></FileSize><meta type="photo"
               originalName="ImportedPhoto_1709140897065.jpg"></meta></
               URIObject><legacyquote>

               &lt;&lt;&lt; </legacyquote></quote>Looks like you only sent a bit
               2024/02/28 12:03:58 David Sham: Sending in bits will cost you so much
               transfer charges
               2024/02/28 12:11:12 David Sham: Are you there ?
               2024/02/28 12:11:45 David Sham: Bitcoin already hit 62K today and
               looking to get to 70K very soon
               2024/02/28 12:12:02 David Sham: Let’s get you on the market ASAP
               2024/02/28 12:21:01 David Sham: <partlist type="missed" alt=""
               callId="d2c6e551-ed51-4234-9a68-442e6cadc22d"><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></
               part><part identity="live:ph2corp_2"><name>Peter Harris</name></
               part></partlist>
               2024/02/28 12:21:20 David Sham: <partlist type="missed" alt=""
               callId="95c9c7ef-9660-4127-a11d-7018dc418029"><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></
               part><part identity="live:ph2corp_2"><name>Peter Harris</name></
               part></partlist>
               2024/02/28 12:46:56 8:live:ph2corp_2: <partlist type="missed" alt=""
               callId="b78899f8-65b1-431d-9ea4-238f6187a46e"><part
               identity="live:ph2corp_2"><name>Peter Harris</name></part><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></part></
               partlist>
               2024/02/28 12:50:36 David Sham: How’s it going ?
               2024/02/28 12:50:53 David Sham: Funds in account yet ? Locking next
               trades in a bit
               2024/02/28 12:51:24 8:live:ph2corp_2: The funds are in the account.
               2024/02/28 12:52:03 8:live:ph2corp_2: Can you get started with that
               amount and I&apos;ll make another transfer request today.
               2024/02/28 12:52:38 David Sham: We can’t trade with that
               2024/02/28 12:53:18 David Sham: Software minimum is 1BTC
               2024/02/28 12:54:02 David Sham: That’s why I advised you start up with
               2BTC the diamond account with no threshold, leveraging the market to




                                                                                             HAR0023
     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 14 of 238 PageID #:
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               win more
               2024/02/28 12:54:26 David Sham: We spoke over the phone about it. If
               you do not want to trade it’s okay.
               2024/02/28 12:55:03 8:live:ph2corp_2: Got it. I made another request.
               Stand by, let&apos;s see if it goes through.
               2024/02/28 13:14:28 David Sham: Okay keep me posted once funds in
               account
               2024/02/28 13:35:56 David Sham: How’s it going ? Trade is about to
               start in 30 mins
               2024/02/28 13:38:09 8:live:ph2corp_2: Crypto cancelled it again.
               I tried one BTC and $10K
               2024/02/28 13:38:57 David Sham: That’s weird
               2024/02/28 13:40:33 David Sham: I might to give your spot to another
               client. It was the last spot and I was keeping it for you. He wants to
               fund his account and start up trades immediately, since you are having
               complications sending to your account
               2024/02/28 13:42:39 David Sham: I’ll have another free spot for you on
               the 5th of next month. If that’s okay by you
               2024/02/28 13:43:37 David Sham: Btc should be 80K by then. That’s a
               lot of profit you’ll miss out from tho
               2024/02/28 13:49:38 8:live:ph2corp_2: Not sure what else I can do.
               First time doing this.
               If you can&apos;t wait, I understand.
               2024/02/28 13:51:58 David Sham: What’s the reason for the
               cancellation?
               2024/02/28 13:52:17 David Sham: Did they send you an email why ?
               2024/02/28 13:53:23 8:live:ph2corp_2: No, but I&apos;m checking with
               Support again.
               2024/02/28 13:58:39 David Sham: Okay
               2024/02/28 13:58:43 David Sham: Keep me posted
               2024/02/28 13:59:15 David Sham: I’ll pend David a few more days, let’s
               see if you can your account started in the next 2 days
               2024/02/28 14:00:01 David Sham: When trying to fund next time, see if
               you can send funds all at once, the transfer charges do not reduce
               funds
               2024/02/28 18:17:13 David Sham: Did you get a response from support
               2024/02/28 18:29:35 8:live:ph2corp_2: Absolutely nothing from them. I
               can&apos;t even put in another support ticket.
               I&apos;m going to make another deposit in the morning.
               2024/02/28 18:36:24 David Sham: Okay keep me posted
               2024/02/28 18:39:14 8:live:ph2corp_2: Will do
               2024/02/29 00:11:58 David Sham: Btc hit 63K and it’s looking to
               increase more.
               2024/02/29 08:56:57 8:live:ph2corp_2: <URIObject uri="https://
               api.asm.skype.com/v1/objects/0-wus-d1-
               ea169f55d2ed8a3fb1791458ff916be1" url_thumbnail="https://
               api.asm.skype.com/v1/objects/0-wus-d1-
               ea169f55d2ed8a3fb1791458ff916be1/views/imgt1_anim" type="Picture.1"
               doc_id="0-wus-d1-ea169f55d2ed8a3fb1791458ff916be1"
               width="919.9572192513369" height="2048">To view this shared photo, go




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 15 of 238 PageID #:
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               to: <a href="https://login.skype.com/login/sso?go=xmmfallback?pic=0-
               wus-d1-ea169f55d2ed8a3fb1791458ff916be1">https://login.skype.com/
               login/sso?go=xmmfallback?pic=0-wus-d1-
               ea169f55d2ed8a3fb1791458ff916be1</a><OriginalName
               v="1709218617903.JPEG"></OriginalName><FileSize v="64709"></
               FileSize><meta type="photo" originalName="1709218617903.JPEG"></
               meta></URIObject>
               2024/02/29 08:57:11 8:live:ph2corp_2: Here is what they sent me
               2024/02/29 09:28:18 David Sham: It’s a private wallet address that
               only you use, so how’s that malicious
               2024/02/29 09:28:43 David Sham: It’s a normal process with these
               platforms especially because you stated earlier that you wanted to
               trade
               2024/02/29 09:28:51 David Sham: So they trying to stop you
               2024/02/29 09:29:40 David Sham: You can tell them that it’s your
               personal wallet and it’s safe to send funds to it <e_m
               a="live:.cid.50fa342aa3647427" ts_ms="1709220555445" ts="1709220555"
               t="61"></e_m>
               2024/02/29 09:29:15 David Sham: You can tell them that it’s your
               personal wallet and it’s safe to send funds to it <e_m
               a="live:.cid.50fa342aa3647427" ts_ms="1709220555445" ts="1709220555"
               t="61"></e_m>
               2024/02/29 09:45:25 David Sham: <partlist type="started" alt=""
               callId="da280898-e15d-43e0-8a98-b4bbc64508b6"><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></
               part><part identity="live:ph2corp_2"><name>Peter Harris</name></
               part></partlist>
               2024/02/29 09:48:08 David Sham: <partlist type="ended" alt=""
               callId="da280898-e15d-43e0-8a98-b4bbc64508b6"><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</
               name><duration>163.027</duration></part><part
               identity="live:ph2corp_2"><name>Peter Harris</name><duration>163.027</
               duration></part></partlist>
               2024/02/29 12:25:27 David Sham: How’s it going?
               2024/02/29 13:04:41 8:live:ph2corp_2: Sent them a reply to your exact
               wording.
               Just made another transfer request. Let&apos;s see what happens.
               2024/02/29 13:16:32 David Sham: Okay keep posted
               2024/02/29 16:29:36 David Sham: How’s it going ?
               2024/02/29 16:46:50 David Sham: <partlist type="missed" alt=""
               callId="4f397505-8a77-4ce2-9619-c32e2c8f1c02"><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></
               part><part identity="live:ph2corp_2"><name>Peter Harris</name></
               part></partlist>
               2024/02/29 20:02:37 8:live:ph2corp_2: I transferred another small
               amount and it worked. Tomorrow I will try a larger amount. We&apos;ll
               see.
               2024/02/29 21:49:33 David Sham: Okay, I think you should send it one
               time, every transaction you send, their fees attached to it. It’s you
               losing money




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 16 of 238 PageID #:
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               2024/02/29 22:18:40 8:live:ph2corp_2: I&apos;ll try that
               2024/02/29 22:51:10 David Sham: Okay maybe try now, see if it works
               2024/02/29 22:51:33 David Sham: So you can be set to start off the day
               properly tomorrow
               2024/02/29 22:53:45 8:live:ph2corp_2: Okay just tried another.
               2024/02/29 22:54:48 David Sham: Okay keep me posted once in account.
               Did you send all of it this time?
               2024/02/29 22:55:20 8:live:ph2corp_2: No, tried $25K this time.
               2024/02/29 22:56:41 David Sham: Okay lmk
               2024/02/29 23:00:03 David Sham: Did you check your email to see if it
               cancelled again ?
               2024/02/29 23:01:01 8:live:ph2corp_2: It takes about 30min for
               approval or cancellation.
               2024/02/29 23:01:53 David Sham: That’s correct
               2024/02/29 23:01:53 David Sham: That’s correct
               2024/02/29 23:46:59 David Sham: You think you made success this time ?
                  crypto stressing the hell outta you
               2024/02/29 23:57:28 8:live:ph2corp_2: Lol, I know!
               Still waiting
               2024/03/01 00:06:17 David Sham: Okay
               2024/03/01 05:46:01 David Sham: Hello, how’s it going ?
               2024/03/01 09:07:40 8:live:ph2corp_2: It worked.
               Loni is stressed and doesn&apos;t want us to trade the entire 2 BTC.
               She wants to start with 1 BTC, and transfer the rest upon seeing
               results. I just made another transfer, I&apos;ll let you know once it
               is there. Thanks for understanding.
               2024/03/01 09:49:39 David Sham: Okay keep me posted
               2024/03/01 09:50:28 David Sham: Kindly send me your Upwin account
               username and email , so I can connect to software and start trades
               immediately funds get in
               2024/03/01 10:03:32 8:live:ph2corp_2: Peternloni2024
               <a href="mailto:ph2corp@gmail.com">ph2corp@gmail.com</a>
               2024/03/01 10:03:59 8:live:ph2corp_2: Transfer approved
               2024/03/01 10:16:41 David Sham: <quote author="live:ph2corp_2"
               authorname="Peter Harris" timestamp="1709309013"
               conversation="8:live:ph2corp_2" messageid="1709309012747"
               cuid="16322443063658791053"><legacyquote>[1709309013] Peter Harris: </
               legacyquote>Peternloni2024
               <a href="mailto:ph2corp@gmail.com">ph2corp@gmail.com</a><legacyquote>

               &lt;&lt;&lt; </legacyquote></quote>Connected to software
               2024/03/01 10:16:52 David Sham: As soon as funds get in, I’ll start
               trading immediately
               2024/03/01 10:32:09 David Sham: Looks like funds are in account, I can
               see from my dashboard
               2024/03/01 10:32:17 David Sham: I’ll start sending trade signals now
               2024/03/01 10:37:09 8:live:ph2corp_2: Awesome. Can we see from Upwin
               your activity and results?
               2024/03/01 10:38:41 David Sham: Yes
               2024/03/01 10:38:59 David Sham: You see trade histories and wins will




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 17 of 238 PageID #:
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               be added to balance
               2024/03/01 10:39:33 David Sham: It’s very transparent, that’s why I’m
               surprised Loni is stressed about it
               2024/03/01 10:41:03 David Sham: I actually do not have access to take
               funds out of your account, only access to send trade signals. That’s
               why my commission is paid by you to me after the trading session
               2024/03/01 10:41:31 David Sham: How long are you looking to run
               account. 1 month, 3 months, 6 months ?
               2024/03/01 10:41:52 David Sham: I would advice 3 months, a good timing
               to milk the market
               2024/03/01 10:44:09 8:live:ph2corp_2: Could you guess what 3 months
               and 6 months would look like for us? Just a guess only.
               2024/03/01 10:56:57 8:live:ph2corp_2: And then how do we pay your
               commission?
               2024/03/01 11:02:48 David Sham: <quote author="live:ph2corp_2"
               authorname="Peter Harris" timestamp="1709311450"
               conversation="8:live:ph2corp_2" messageid="1709311449696"
               cuid="16593830984002046386"><legacyquote>[1709311450] Peter Harris: </
               legacyquote>Could you guess what 3 months and 6 months would look like
               for us? Just a guess only. <legacyquote>

               &lt;&lt;&lt; </legacyquote></quote>The market is sky rocketing, all I
               can say. You are going to make tremendous profit. Trust me.
               2024/03/01 11:03:48 David Sham: <quote author="live:ph2corp_2"
               authorname="Peter Harris" timestamp="1709312217"
               conversation="8:live:ph2corp_2" messageid="1709312217290"
               cuid="7276092615518331206"><legacyquote>[1709312217] Peter Harris: </
               legacyquote>And then how do we pay your commission?<legacyquote>

               &lt;&lt;&lt; </legacyquote></quote>You can pay via either wire
               transfer, crypto. Whichever is convenient
               2024/03/01 11:09:21 8:live:ph2corp_2: Ok let&apos;s do 3 months
               2024/03/01 11:15:18 David Sham: Okay, noted.
               2024/03/01 11:20:32 8:live:ph2corp_2: Does that mean we pay you after
               3 months of trading?
               2024/03/01 11:25:51 David Sham: Yes that’s correct
               2024/03/01 11:30:45 8:live:ph2corp_2: Do you think the halving of BTC
               in April will benefit your trading?
               2024/03/01 11:45:37 David Sham: Yes of cos
               2024/03/01 11:46:01 David Sham: But it won’t happen in April this year
               2024/03/01 11:46:17 David Sham: BTC is skyrocketing. Just trust the
               process
               2024/03/01 11:46:50 8:live:ph2corp_2: Will do, we&apos;re excited
               David.
               2024/03/01 11:47:23 David Sham:
               2024/03/01 11:48:06 David Sham: If you can fund the complete 2BTC
               there will be a lot of thresholds to place multiple trades daily
               2024/03/01 11:49:10 8:live:ph2corp_2: Okay, but Loni needs to see the
               results first. I&apos;m ready as soon as she gives me the go.
               2024/03/01 12:16:57 David Sham: Okay calm




                                                                                             HAR0027
     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 18 of 238 PageID #:
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               2024/03/01 16:34:19 David Sham: 2X trade won.
               2024/03/01 16:34:25 David Sham: Biggest trade for the day.
               2024/03/01 16:35:34 David Sham: Are you logged in to account ?
               2024/03/01 18:37:15 8:live:ph2corp_2: Sorry, missed your text here.
               Your first day with us is a success! We&apos;re trusting your process!
               2024/03/01 20:26:29 David Sham: The market is at its best right now, I
               advise you take advantage of it
               2024/03/01 20:28:17 8:live:ph2corp_2: Okay l, let me talk with Loni
               and get her approval for the other $$ in.
               2024/03/01 23:58:23 David Sham: Trust me, it gives you the leverage to
               place multiple high trades
               2024/03/02 00:31:08 David Sham: Orlando currently has $1M invested.
               That’s the VIP account. In 3 months he’s looking at $15-20M
               2024/03/02 00:33:45 David Sham: I’m not trying to persuade you against
               you wish. Just advising you as your expert trader
               2024/03/02 00:34:26 David Sham: I’m getting paid 20% of profit I make
               you, so just suggesting the best options for you
               2024/03/02 00:34:37 8:live:ph2corp_2: That&apos;s great.
               What did he start off with?
               2024/03/02 00:35:56 David Sham: Last year
               2024/03/02 00:36:14 David Sham: Also made multiple withdrawals over
               time
               2024/03/02 00:37:32 8:live:ph2corp_2: Ok that&apos;s helpful.
               Hopefully, I can show her your results next week.
               2024/03/02 00:38:12 David Sham: Okay cool
               2024/03/03 18:41:29 David Sham: Btc hit 64K
               2024/03/03 18:42:00 David Sham: I advise you upgrade account because
               of the threshold, we need to be able to place multiple high trades
               2024/03/03 18:42:15 David Sham: and take great advantage of the market
               2024/03/03 18:44:08 8:live:ph2corp_2: How do we do that?
               2024/03/03 19:02:44 8:live:ph2corp_2: Loni just gave me the okay to
               deposit the rest. It&apos;ll be one more BTC. But I had to transfer
               more funds since the price went up. I&apos;ll do it tomorrow.
               2024/03/04 06:57:20 David Sham: You just need to transfer Btc to your
               account to upgrade account
               2024/03/04 08:01:40 8:live:ph2corp_2: Ok just sent 0.5 BTC and it was
               successful. Waiting for it to hit wintrade.
               2024/03/04 08:01:52 8:live:ph2corp_2: I&apos;ll do the rest shortly
               2024/03/04 08:02:02 8:live:ph2corp_2: Good luck today
               2024/03/04 09:17:37 David Sham: Okay keep me posted
               2024/03/04 09:17:47 David Sham: You see Btc just hit 66K
               2024/03/04 11:00:24 David Sham: If you take investment up to $500K.
               You won’t regret it
               2024/03/04 11:00:58 David Sham: Just watch me do my magic in 3 months.
               You’ll be shocked at the progress you’ll make.
               2024/03/04 13:17:31 David Sham: Are you there ?
               2024/03/04 13:17:31 David Sham: Are you there ?
               2024/03/04 13:18:08 8:live:ph2corp_2: Here, but available in 30min
               2024/03/04 13:49:02 8:live:ph2corp_2: I&apos;m available for next 15
               minutes




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 19 of 238 PageID #:
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               2024/03/04 13:49:09 8:live:ph2corp_2: 10 minutes
               2024/03/04 14:06:42 David Sham: I was speaking about you considering
               upgrading to $500K account
               2024/03/04 14:19:12 8:live:ph2corp_2: I&apos;m sure Loni will say no,
               until later. But I do have a little more coming. At least one more
               BTC. 1/2 today, 1/2: tomorrow.
               2024/03/04 16:10:17 David Sham: Okay. Keep me posted
               2024/03/04 16:10:49 David Sham: When it comes to trading it’s all
               about timing
               2024/03/04 16:11:22 David Sham: Been skeptical is part of trading, but
               you have to look over your fears to get the right goals
               2024/03/04 16:43:42 8:live:ph2corp_2: Quick question: this morning I
               sent .5 BTC to wintrade acct. Will it show up in my wallet as BTC
               Balance or Invested Amount? The BTC balance is up to 3 now.
               2024/03/04 16:44:16 David Sham: It shows up in the invested amount
               2024/03/04 16:44:25 David Sham: I’m only able to trade with invested
               amount
               2024/03/04 16:45:10 David Sham: That’s why i ask you to fund account,
               because software can only trade with Btc in account which is the
               invested amount
               2024/03/04 16:45:14 David Sham: Balance is in USD
               2024/03/04 16:46:40 8:live:ph2corp_2: So, where is the .5btc I put in
               this morning?
               2024/03/04 16:47:32 David Sham: It’s in account added to the invested
               account
               2024/03/04 16:49:48 8:live:ph2corp_2: Ok, I see it now. Thanks
               2024/03/04 16:50:49 8:live:ph2corp_2: Can we upgrade with that amount?
               2024/03/04 16:52:02 David Sham: Okay cool
               2024/03/04 16:53:30 David Sham: Trust me Peter, see if you can take
               investment to $500K. You’ll be looking at almost $15M by the end of 3
               months. I want you to see the bigger picture ahead, it’s a win win
               2024/03/04 16:54:09 David Sham: You see bitcoin is almost 70K just
               like I told you. It’s looking to get to 100K in a few weeks
               2024/03/04 16:55:10 David Sham: Only if you can see the vision.
               2024/03/04 17:24:36 David Sham: Btc just hit 68K
               2024/03/05 07:47:47 David Sham: Hello, how’s it going ?
               2024/03/05 08:06:31 8:live:ph2corp_2: Hi David,
               It was cancelled   .
               Frustrating and time wasting. I&apos;ll try again once I get back.
               2024/03/05 10:12:59 David Sham: Okay, keep me posted
               2024/03/05 11:01:11 8:live:ph2corp_2: I was only able to send to
               wintrade $20K.
               My bank fraud dept is stopping me. Does any of your other clients have
               this issue?
               2024/03/05 11:52:32 David Sham: Yes, you just have to tell your bank
               that, you are building your crypto portfolio
               2024/03/05 12:59:47 8:live:ph2corp_2: Did you see the $20K I sent to
               wintrade?
               2024/03/05 15:28:26 David Sham: It hasn’t update in account yet
               2024/03/05 15:29:09 David Sham: Btc network is slow, should be in




                                                                                             HAR0029
     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 20 of 238 PageID #:
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               account soon
               2024/03/06 11:52:46 David Sham: How’s it going ?
               2024/03/06 11:55:45 8:live:ph2corp_2: It&apos;s taking forever,
               waiting on a transfer. Made one this morning.
               2024/03/06 15:49:34 David Sham: Okay keep me posted
               2024/03/06 15:49:51 David Sham: You can set up an account with <a
               href="https://www.kraken.com">www.kraken.com</a>
               2024/03/06 15:50:11 David Sham: So you can have two platforms you
               purchase with. Will be faster
               2024/03/06 23:17:13 David Sham: How’s it going
               2024/03/06 23:19:57 8:live:ph2corp_2: Got the next wire approved.
               $25K. Waiting for it to hit crypto. Then, I&apos;ll make the deposit
               into wintrade. Another wire to do after that for another $25K.
               2024/03/07 07:23:52 David Sham: Okay keep me posted
               2024/03/07 13:55:40 David Sham: How’s it going ?
               2024/03/07 14:09:40 8:live:ph2corp_2: Wintrade was cancelled. I just
               sent a message to support to let it go through.
               2024/03/07 15:02:46 David Sham: Okay keep me posted
               2024/03/07 22:23:36 8:live:ph2corp_2: The transfer to wintrade went
               through. Another one to go.
               2024/03/08 02:17:16 David Sham: Okay keep me posted
               2024/03/09 05:40:40 David Sham: How’s it going ?
               2024/03/09 09:14:01 8:live:ph2corp_2: <URIObject uri="https://
               api.asm.skype.com/v1/objects/0-wus-
               d8-1d3399450270e6b86bbbdb56e07a7ec3" url_thumbnail="https://
               api.asm.skype.com/v1/objects/0-wus-
               d8-1d3399450270e6b86bbbdb56e07a7ec3/views/imgt1_anim" type="Picture.1"
               doc_id="0-wus-d8-1d3399450270e6b86bbbdb56e07a7ec3"
               width="919.9572192513369" height="2048">To view this shared photo, go
               to: <a href="https://login.skype.com/login/sso?go=xmmfallback?pic=0-
               wus-d8-1d3399450270e6b86bbbdb56e07a7ec3">https://login.skype.com/
               login/sso?go=xmmfallback?pic=0-wus-
               d8-1d3399450270e6b86bbbdb56e07a7ec3</a><OriginalName
               v="1709997242182.JPEG"></OriginalName><FileSize v="31652"></
               FileSize><meta type="photo" originalName="1709997242182.JPEG"></
               meta></URIObject>
               2024/03/09 09:15:14 8:live:ph2corp_2: I hit my weekly limit, I&apos;ll
               try Monday. They are doing their best on stopping me.
               2024/03/09 09:17:20 David Sham: Set up the <a href="https://
               www.kraken.com">www.kraken.com</a> account
               2024/03/09 09:17:43 David Sham: You might love their services better.
               Less drama than crypto
               2024/03/11 07:43:39 8:live:ph2corp_2: Another $25K sent to upwintrade
               successfully.
               2024/03/11 15:33:56 8:live:ph2corp_2: Hi David,
               Just want to make sure upwintrade has received the $$ I sent today.
               Thanks
               2024/03/11 17:02:54 David Sham: I see it on dashboard
               2024/03/11 17:07:07 David Sham: You Btc is over 70K like I told you
               when you started, it’s looking to hit $100K by the end of the month.




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 21 of 238 PageID #:
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               If only you can take my advice
               2024/03/11 17:07:45 David Sham: Increase investment to $500K and by
               the end of 3 months you are looking at almost $50M or more
               2024/03/11 17:08:47 David Sham: You friend who referred you already
               over $20M in the current investment run, this is because he’s taking
               advantage of the market
               2024/03/11 17:09:49 David Sham: Of cos Loni will have her opinion, but
               she doesn’t really know anything about trading
               2024/03/11 23:05:52 David Sham: You there ?
               2024/03/11 23:06:14 8:live:ph2corp_2: Here
               2024/03/11 23:06:25 8:live:ph2corp_2: Yes
               2024/03/11 23:24:03 8:live:ph2corp_2: I&apos;ll be able to put in a
               little more in a few days. Well see how much. Thanks
               2024/03/11 23:30:17 David Sham: Okay cool, did you set up the kraken
               account
               2024/03/16 16:00:50 8:live:ph2corp_2: Hi David,
               I&apos;ll have another transfer Monday. About 0.5btc
               2024/03/16 18:28:27 David Sham: Okay, keep me posted
               2024/03/19 02:39:23 David Sham: How’s it going ?
               2024/03/19 08:44:33 8:live:ph2corp_2: <URIObject uri="https://
               api.asm.skype.com/v1/objects/0-wus-d1-
               a7952efdf6ff5efb4f175dae26e7f723" url_thumbnail="https://
               api.asm.skype.com/v1/objects/0-wus-d1-
               a7952efdf6ff5efb4f175dae26e7f723/views/imgt1_anim" type="Picture.1"
               doc_id="0-wus-d1-a7952efdf6ff5efb4f175dae26e7f723" width="1008"
               height="2244">To view this shared photo, go to: <a href="https://
               login.skype.com/login/sso?go=xmmfallback?pic=0-wus-d1-
               a7952efdf6ff5efb4f175dae26e7f723">https://login.skype.com/login/sso?
               go=xmmfallback?pic=0-wus-d1-a7952efdf6ff5efb4f175dae26e7f723</
               a><OriginalName v="3ab9a4ce-3acf-4abd-a169-5fcabd7ec4d1.png"></
               OriginalName><FileSize v="147560"></FileSize><meta type="photo"
               originalName="3ab9a4ce-3acf-4abd-a169-5fcabd7ec4d1.png"></meta></
               URIObject>
               2024/03/19 08:44:34 8:live:ph2corp_2: Tired of these people.
               I have a message into their support team.
               There&apos;s always some excuse.
               2024/03/19 11:06:06 David Sham: You can try again but also want to
               suggest maybe your wife can open an account with crypto.com with her
               infor or you can register on kraken, so you can have different
               alternatives
               2024/03/20 15:57:47 David Sham: How&apos;s it going?
               2024/03/20 16:46:19 8:live:ph2corp_2: No reply from them.
               Once I get this resolved, I am cancelling my acct with them. I&apos;ll
               use Kraken moving forward.
               Shouldn&apos;t be this hard. Perhaps they have flagged my account for
               some reason.
               2024/03/20 20:12:05 David Sham: They are just angry you are not
               trading with them
               2024/03/20 20:12:15 David Sham: Did you set up the kraken yet ?
               2024/03/20 20:28:16 David Sham: Also did you try to send again




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 22 of 238 PageID #:
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               2024/03/20 20:53:56 8:live:ph2corp_2: You&apos;re probably right.
               I just tried to transfer a smaller amount, but not they will not sent
               me the SMS code to complete the transfer. They have definitely flagged
               me.
               I did set up kraken. I&apos;ll use them after I get the last transfer
               done.
               2024/03/20 23:38:16 8:live:ph2corp_2: I was able to send a smaller
               amount, 0.25btc.
               That just went through to upwintrade. I&apos;ll do the rest later, and
               then I&apos;ll be using kraken from then on.
               2024/03/21 09:55:46 David Sham: How’s it going ?
               2024/03/21 10:16:39 8:live:ph2corp_2: I tried and it didn&apos;t work.
               Waiting for their reply. One more transfer to go from them.
               2024/03/21 10:17:21 8:live:ph2corp_2: I&apos;m signed up for kraken
               2024/03/21 10:33:44 David Sham: Okay
               2024/03/21 10:33:57 David Sham: Did the second transfer go through?
               2024/03/21 10:38:18 8:live:ph2corp_2: No, just tried, got the same
               error msg. I&apos;m going to try again later.
               2024/03/21 10:51:40 David Sham: Okay
               2024/03/21 13:07:04 David Sham: Still no update from crypto ?
               2024/03/21 13:07:10 David Sham: Your funds still stuck ?
               2024/03/21 13:13:48 8:live:ph2corp_2: Nothing
               2024/03/21 13:28:41 David Sham: That’s crazy. Did you try to send out
               again ?
               2024/03/21 13:53:14 8:live:ph2corp_2: I&apos;m going to try again this
               evening. As soon as this goes thru, I&apos;m done with them.
               2024/03/22 03:53:08 David Sham: Okay let me know
               2024/03/22 11:20:22 David Sham: Still struggling with crypto?
               2024/03/22 11:24:47 8:live:ph2corp_2: Yeah, got the same message. No
               reply from support. I sent another message to them. Not giving up,
               I&apos;m going to transfer that $. Then use kraken afterwards.
               2024/03/22 11:27:40 David Sham: Okay, there’s a trade for Tuesday and
               Wednesday
               2024/03/22 11:27:58 David Sham: With $100K investment in that trade,
               it’s a $3M win
               2024/03/22 11:28:38 David Sham: I’ll advice you want to fund account
               to get on that investment, kindly use the kraken wire option for
               instant buy
               2024/03/22 12:03:34 David Sham: <quote
               author="live:.cid.50fa342aa3647427" authorname="David Sham"
               timestamp="1711124879" conversation="8:live:ph2corp_2"
               messageid="1711124879246"
               cuid="15113438622443191639"><legacyquote>[1711124879] David Sham: </
               legacyquote>With $100K investment in that trade, it’s a $3M win
               <legacyquote>

               &lt;&lt;&lt; </legacyquote></quote>You don’t want to miss out this
               trade, it’s biggest trade so far this year
               2024/03/22 13:35:06 8:live:ph2corp_2: Can you use the current funds
               for this trade while I get more funds?




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 23 of 238 PageID #:
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               2024/03/22 17:36:36 David Sham: I already placed trades with funds in
               account, those trades just popped up last night
               2024/03/22 20:53:48 8:live:ph2corp_2: Quick question:
               What happens after our 3 month trading agreement?
               After we pay you 20%, what&apos;s next?
               Cash out and start over again?
               Keep the money in the account for a while?
               Thanks
               2024/03/23 09:23:19 David Sham: Yes, cash out and start over again.
               2024/03/23 10:24:46 David Sham: Are you there ?
               2024/03/23 10:32:58 8:live:ph2corp_2: Yes, I was explaining this to
               Loni. Thanks
               2024/03/23 13:02:13 David Sham: Okay, do you really want to miss out
               next week huge trades
               2024/03/23 23:44:09 David Sham: Are you there
               2024/03/23 23:46:08 8:live:ph2corp_2: Yes
               2024/03/24 09:37:12 David Sham: Did you speak to Loni yet ?
               2024/03/24 09:38:18 David Sham: Have you heard from crypto.com, did
               they let you send funds to account
               2024/03/24 09:38:59 David Sham: <partlist type="missed" alt=""
               callId="abb9f185-109d-45a3-b14d-a7f665e2854e"><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></
               part><part identity="live:ph2corp_2"><name>Peter Harris</name></
               part></partlist>
               2024/03/24 15:08:14 8:live:ph2corp_2: Travelling till tomorrow, missed
               your call. Will update.
               2024/03/24 18:36:30 David Sham: You see the price of Btc rising again,
               this because of the huge trades coming up this week. Don’t miss out
               those trades
               2024/03/24 18:38:40 David Sham: The win will be over $3M
               2024/03/24 18:40:33 8:live:ph2corp_2: I tried today and I get the same
               error.
               Question: couldn&apos;t I cash in my upwintrade acct and start over
               with you? And of course, use kraken this time.
               2024/03/24 18:42:51 David Sham: Remember you agreed I fix the account
               for 3 months trade. Which means withdrawal will be available around
               May
               2024/03/24 18:43:15 David Sham: First week of May. Because you started
               off first week of March
               2024/03/24 18:44:30 David Sham: Kraken would be easier to use
               2024/03/24 18:45:24 David Sham: If you already registered, you just
               need to wire funds to them.
               2024/03/24 18:45:32 David Sham: It’s faster and easier
               2024/03/24 18:46:35 8:live:ph2corp_2: Got it.
               I won&apos;t be able to put in any larger amounts until later. We have
               to get through April&apos;s tax return season payments. I&apos;ll
               definitely use kraken, crypto is the worst.
               2024/03/24 18:47:48 David Sham: Okay, how much you looking to invest
               in the Tuesday/Wednesday trade
               2024/03/24 18:47:55 David Sham: Or you want to pass on it ?




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 24 of 238 PageID #:
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               2024/03/24 18:48:10 David Sham: It’s a really a good opportunity, all
               my clients are taking advantage of it
               2024/03/24 18:48:39 David Sham: Because the X30 trade only pops once
               in 6 months
               2024/03/24 18:49:07 David Sham: X30 of every invested amount
               2024/03/24 18:49:25 David Sham: If you can get 50K on the trade.
               That’s $1.5M
               2024/03/24 18:49:51 David Sham: All depends on what you aim at
               winning.
               2024/03/24 18:51:17 David Sham: Also I was going to ask if you tried
               sending a lesser amount out of your crypto, if it will go through. I’m
               not sure why they are holding your funds hostage
               2024/03/24 18:55:32 8:live:ph2corp_2: What I have left in their
               account is about $12k. I can probably do another $20k. Total $32k.
               Would that turn into $960k by May?

               2024/03/24 19:00:56 David Sham: You’ll of cos make more than that
               before May
               2024/03/24 19:01:28 David Sham: See if you can wire the funds to
               kraken tomorrow, so you can get bitcoin ready by Tuesday for the trade
               2024/03/24 20:19:28 8:live:ph2corp_2: Tonight I was able to get $7k
               out of crypto account into upwintrade. $5k more to go. I&apos;ll wire
               the $20k into kraken tomorrow.
               2024/03/24 20:25:24 David Sham: Okay keep me posted
               2024/03/25 11:25:44 David Sham: How’s it going
               2024/03/25 11:26:11 David Sham: Where you able to send the wire to
               kraken today ?
               2024/03/25 11:30:24 8:live:ph2corp_2: Yes, I did $10k yesterday and
               another $10k this morning.
               How do I transfer into upwintrade?
               2024/03/25 12:42:31 David Sham: Buy Btc and transfer to your upwin
               address
               2024/03/25 12:42:53 David Sham: Have funds reflected on your kraken
               already ?
               2024/03/25 12:46:01 8:live:ph2corp_2: The wire was cancelled by my
               bank.
               2024/03/25 12:46:10 8:live:ph2corp_2: Here we go
               2024/03/25 13:27:52 David Sham: You can only send from account that
               has same name with your kraken
               2024/03/25 13:28:18 David Sham: Also find out why it was cancelled
               2024/03/25 13:31:34 8:live:ph2corp_2: Ok it went through. Kraken
               should get it today
               2024/03/25 13:33:08 David Sham: Okay, keep me posted
               2024/03/25 13:33:34 David Sham: See if crypto lets you send out your
               remaining funds stuck with them
               2024/03/25 13:35:08 8:live:ph2corp_2: And you saw that I sent the $7k
               from crypto, correct?
               Need to get last $5k from them.
               2024/03/25 16:06:50 David Sham: It should be in account already
               2024/03/25 16:07:09 David Sham: My main concern right now is you




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 25 of 238 PageID #:
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               getting on the trade for tomorrow night
               2024/03/25 16:16:04 8:live:ph2corp_2: Still waiting for it to hit the
               kraken acct.
               2024/03/25 16:23:24 David Sham: You see bitcoin is over 70K already
               now, this is because of the high trade happening tomorrow
               2024/03/25 16:24:26 David Sham: Did you confirm from your bank that
               the wire went through, I remember you said it got cancelled earlier
               2024/03/25 16:26:09 8:live:ph2corp_2: Yes the wire has been sent.
               Waiting for it to hit kraken. Don&apos;t see it yet.
               My bank thought it was fraud, or they don&apos;t like crypto.
               2024/03/25 16:26:50 8:live:ph2corp_2: I went to the bank personally.
               2024/03/25 17:03:59 David Sham: Yeah, you just tell them you are
               building your crypto portfolio
               2024/03/25 22:29:43 David Sham: Funds still didn’t show up in kraken ?
               2024/03/25 22:34:54 8:live:ph2corp_2: No. Support says since it is the
               first deposit, it could either be the same day or several days.
               Nothing else I can do.
               2024/03/25 23:08:39 David Sham: Okay
               2024/03/26 09:23:44 David Sham: How’s it going ?
               2024/03/26 09:54:29 8:live:ph2corp_2: Kraken has my $ on hold status.
               Crypto says I have to wait 5 business days to transfer $.
               2024/03/26 10:13:59 David Sham: Okay, have you spoken to the kraken
               customer service yet. Is there a reason why the funds are on hold
               2024/03/26 15:11:37 8:live:ph2corp_2: Yes, they said this happens on
               first-time deposits. Could be up to 72hrs.
               2024/03/27 07:09:39 David Sham: Okay, keep me posted
               2024/03/27 10:26:42 David Sham: How’s it going ?
               2024/03/27 10:31:48 8:live:ph2corp_2: $5k will be released tonight by
               crypto.
               Kraken still has hold.
               2024/03/27 10:57:38 David Sham: Okay, let me know once sent
               2024/03/27 10:59:22 8:live:ph2corp_2: Will do
               2024/03/27 22:07:44 8:live:ph2corp_2: Crypto transfer successful. $5k
               sent to upwintrade just now.
               Will work on kraken next day.
               2024/03/28 11:57:47 David Sham: Okay keep me posted
               2024/03/28 13:10:20 David Sham: Any word from kraken? Some trades
               popped up today
               2024/03/28 13:24:05 8:live:ph2corp_2: This afternoon should be 72
               hours. As soon as it releases I&apos;ll let you know.
               2024/03/28 16:03:33 David Sham: Okay keep me posted
               2024/03/29 00:26:30 David Sham: Looks like kraken still didn’t let you
               send funds
               2024/03/29 08:26:53 8:live:ph2corp_2: Not yet. Support doesn&apos;t
               know why either.
               2024/03/29 08:38:18 David Sham: Does the account you sent from wire
               from have the same name with kraken account
               2024/03/29 08:41:25 8:live:ph2corp_2: Yes.
               2024/03/29 08:48:15 David Sham: Okay. Let’s see what they say. Keep
               me posted




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 26 of 238 PageID #:
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               2024/03/29 08:48:23 David Sham: What’s the error message it’s giving ?
               2024/03/29 08:49:16 8:live:ph2corp_2: <URIObject uri="https://
               api.asm.skype.com/v1/objects/0-wus-d12-
               c278a032e045405d4a9b68383604d2a1" url_thumbnail="https://
               api.asm.skype.com/v1/objects/0-wus-d12-
               c278a032e045405d4a9b68383604d2a1/views/original" type="File.1"
               doc_id="0-wus-d12-c278a032e045405d4a9b68383604d2a1">To view this file,
               go to: <a href="https://login.skype.com/login/sso?
               go=webclient.xmm&amp;docid=0-wus-d12-
               c278a032e045405d4a9b68383604d2a1">https://login.skype.com/login/sso?
               go=webclient.xmm&amp;docid=0-wus-d12-
               c278a032e045405d4a9b68383604d2a1</a><OriginalName
               v="Screenshot_20240328-164421.png"></OriginalName><FileSize
               v="130367"></FileSize></URIObject>
               2024/03/29 10:19:30 David Sham: I believe after this first round, it
               will be easy for you to navigate
               2024/03/29 10:19:40 David Sham: Just be on the support’s case
               2024/03/30 00:48:31 David Sham: What’s kraken saying ? Why are they
               holding your funds. It’s not right at all. The wire option ought to be
               same day
               2024/03/30 08:42:56 8:live:ph2corp_2: Finally been released. No reason
               given.
               2024/03/30 08:43:22 David Sham: Awesome. Let me know once you fund
               account
               2024/03/30 08:43:45 8:live:ph2corp_2: Will do.
               2024/03/30 09:24:54 David Sham: How’s it going
               2024/03/30 11:31:31 8:live:ph2corp_2: Just transferred $20k from
               kraken to upwintrade.
               Kraken is so much easier to use. You should now have received about
               $25k from the last 2 transfers.
               Hopefully you have a few good trades coming up.
               2024/03/30 11:41:20 David Sham: Yes I do. Keep me posted once funds in
               account
               2024/03/30 12:33:03 8:live:ph2corp_2: Will do
               2024/04/01 13:56:29 David Sham: When are you available for a call ?
               2024/04/01 13:56:49 8:live:ph2corp_2: Now
               2024/04/01 14:04:14 8:live:ph2corp_2: Or later my evening, your
               morning
               2024/04/01 15:23:57 8:live:ph2corp_2: I&apos;m available if
               you&apos;re able
               2024/04/01 15:24:05 8:live:ph2corp_2: Now
               2024/04/01 15:28:39 8:live:ph2corp_2: <partlist type="missed" alt=""
               callId="107e3502-7bd0-49d5-a568-4aa65e1d8886"><part
               identity="live:ph2corp_2"><name>Peter Harris</name></part><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></part></
               partlist>
               2024/04/04 16:59:22 David Sham: Hello Peter, how are you ?
               2024/04/04 16:59:51 David Sham: Sorry it has been a very busy week, I
               was unable to return your call
               2024/04/04 17:00:04 David Sham: Let me know when I can call you




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 27 of 238 PageID #:
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               2024/04/04 17:00:40 8:live:ph2corp_2: Doing well David.
               I noticed a big trade in the account today. Congrats!
               2024/04/04 17:01:00 8:live:ph2corp_2: I&apos;m available this evening
               if you are.
               2024/04/04 17:01:31 David Sham: <quote author="live:ph2corp_2"
               authorname="Peter Harris" timestamp="1712268041"
               conversation="8:live:ph2corp_2" messageid="1712268040924"
               cuid="12645554702398409400"><legacyquote>[1712268041] Peter Harris: </
               legacyquote>Doing well David.
               I noticed a big trade in the account today. Congrats!<legacyquote>

               &lt;&lt;&lt; </legacyquote></quote>Yes!! Big win today
               2024/04/04 17:01:45 David Sham: <quote author="live:ph2corp_2"
               authorname="Peter Harris" timestamp="1712268061"
               conversation="8:live:ph2corp_2" messageid="1712268060830"
               cuid="14927929483859975048"><legacyquote>[1712268061] Peter Harris: </
               legacyquote>I&apos;m available this evening if you are.<legacyquote>

               &lt;&lt;&lt; </legacyquote></quote>Okay great, drop me a text once you
               are available
               2024/04/04 17:01:58 8:live:ph2corp_2: Will do
               2024/04/05 10:18:48 8:live:ph2corp_2: You available David?
               2024/04/05 10:28:34 David Sham: I will be available in 20 mins
               2024/04/05 10:29:17 8:live:ph2corp_2: Ok call you in 20
               2024/04/05 10:51:06 8:live:ph2corp_2: <partlist type="started" alt=""
               callId="a769b41d-c6db-4d13-8d5f-1a8e4ad1ee3d"><part
               identity="live:ph2corp_2"><name>Peter Harris</name></part><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></part></
               partlist>
               2024/04/05 10:51:07 8:live:ph2corp_2: <partlist type="started" alt=""
               callId="a769b41d-c6db-4d13-8d5f-1a8e4ad1ee3d"><part
               identity="live:ph2corp_2"><name>Peter Harris</name></part><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></part></
               partlist>
               2024/04/05 10:58:08 8:live:ph2corp_2: <partlist type="ended" alt=""
               callId="a769b41d-c6db-4d13-8d5f-1a8e4ad1ee3d"><part
               identity="live:ph2corp_2"><name>Peter Harris</name><duration>421.648</
               duration></part><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</
               name><duration>421.648</duration></part></partlist>
               2024/04/05 11:03:29 8:live:ph2corp_2: <partlist type="missed" alt=""
               callId="62c9fc8f-ce84-4b19-b652-d098b30a6386"><part
               identity="live:ph2corp_2"><name>Peter Harris</name></part><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></part></
               partlist>
               2024/04/05 11:05:47 8:live:ph2corp_2: Loni has 2 quick question:
               1. What impact will the BTC halving have on trades?
               2. If we put in another $40k now, what would it earn by the end of the
               month?
               Thanks




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 28 of 238 PageID #:
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               2024/04/05 11:41:54 David Sham: 1. Bitcoin is looking to get to 100K
               before the end of this month.
               2. With an extra $40K you’ll definitely be making over $3M before the
               your withdrawal date
               2024/04/05 11:43:07 David Sham: If you can make it up to $100K, you’ll
               triumph more with the forth coming trades, because the market is about
               to skyrocket
               2024/04/05 11:43:21 David Sham: Trust me!
               2024/04/05 12:20:51 David Sham: You there ?
               2024/04/05 12:41:20 8:live:ph2corp_2: How soon do you need the $100k?
               2024/04/05 12:47:03 David Sham: The trades starting Wednesday next
               week
               2024/04/05 14:01:21 David Sham: Are you jumping on the train ?
               2024/04/05 14:06:10 8:live:ph2corp_2: We&apos;re going to try to pull
               the $100k together. By Wednesday will be tight.
               2024/04/05 16:19:07 David Sham: Okay, if you can get some of it in
               before Wednesday, we can start up those trades with that, until the
               balance comes in
               2024/04/05 16:23:08 8:live:ph2corp_2: Ok, we&apos;ll do $25k before
               Wednesday and $75k end of the week. Will that work?
               2024/04/05 16:44:00 David Sham: Awesome! That’s should work. The $25K
               will go for the Wednesday trade
               2024/04/08 10:37:50 David Sham: Hello Peter, exactly what I told you
               is happening already, Btc back over 70K, Are you still funding 25K for
               Wednesday trade ?
               2024/04/08 10:49:12 8:live:ph2corp_2: My 25k wire was cancelled again.
               Dealing with them now.
               2024/04/08 10:50:27 David Sham: Follow kraken wire instructions
               carefully, also wire must come from account with same name as your
               kraken
               2024/04/08 10:51:43 8:live:ph2corp_2: It was cancelled because
               it&apos;s for crypto.
               2024/04/08 10:54:52 David Sham: Oh Yh, you wanna use crypto ?
               2024/04/08 10:55:46 David Sham: Or it’s your bank cancelling it
               because it’s for crypto ?
               2024/04/08 10:56:02 8:live:ph2corp_2: Yes, my bank does not like
               crypto trading. It&apos;s not a kraken issue.
               2024/04/08 10:56:33 David Sham: Okay I understand. Tell your bank you
               are only building your crypto portfolio
               2024/04/08 10:57:24 David Sham: They don’t like to know you making
               money off crypto trading, they will want to up your taxes
               2024/04/08 10:57:45 David Sham: It’s best you always you say, you are
               building your crypto portfolio
               2024/04/08 10:58:22 8:live:ph2corp_2: Okay got it.
               2024/04/08 14:02:11 David Sham: Hi, how’s it going ?
               2024/04/08 14:02:48 8:live:ph2corp_2: Got the wire sent.
               Waiting for it to hit kraken.
               2024/04/08 14:03:23 David Sham: Okay, hopefully it doesn’t take 5 days
               like the other time
               2024/04/08 14:03:44 8:live:ph2corp_2: Hope not!




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 29 of 238 PageID #:
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               2024/04/08 18:55:17 David Sham: How’s it going ?
               2024/04/08 18:55:23 David Sham: Did you speak to admin
               2024/04/08 19:13:57 8:live:ph2corp_2: Hasn&apos;t hit kraken yet.
               I&apos;ll give it until the morning.
               2024/04/09 00:10:15 David Sham: Okay
               2024/04/09 09:50:37 David Sham: Hello     How’s it going ?
               2024/04/09 10:18:03 David Sham: You there ?
               2024/04/09 10:38:15 8:live:ph2corp_2: The wire did not go through...
               unbelievable.
               I think I need to change banks, I really do.
               2024/04/09 10:46:14 David Sham: Sorry about that
               2024/04/09 10:46:37 David Sham: Did you send the wire again ?
               2024/04/09 10:49:27 8:live:ph2corp_2: On the phone with them now.
               2024/04/09 11:03:35 David Sham: Okay keep me posted
               2024/04/09 12:03:57 David Sham: Are you able to sort out. What’s the
               bank saying ?
               2024/04/09 12:17:13 8:live:ph2corp_2: Again, they just told me it went
               through and to wait an hour. We&apos;ll see.
               2024/04/09 12:29:06 David Sham: Okay
               2024/04/09 12:30:41 8:live:ph2corp_2: Okay I just saw it go through
               2024/04/09 12:31:08 8:live:ph2corp_2: Let&apos;s see how long kraken
               holds onto it!
               2024/04/09 16:25:26 8:live:ph2corp_2: It didn&apos;t go through.
               2024/04/09 16:26:16 8:live:ph2corp_2: Chase hates crypto
               2024/04/09 18:42:34 David Sham: Omg! So what are you going to do now ?
               2024/04/09 18:43:43 David Sham: Do you have another account that isn’t
               chase ?
               2024/04/09 19:00:17 David Sham: <partlist type="missed" alt=""
               callId="d217e393-e1fc-4dd2-9b46-3881d42c7c09"><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></
               part><part identity="live:ph2corp_2"><name>Peter Harris</name></
               part></partlist>
               2024/04/09 19:05:00 David Sham: Are you there ?
               2024/04/09 19:05:48 8:live:ph2corp_2: In a mtg, call u in 25 min
               2024/04/09 19:09:26 David Sham: Okay cool
               2024/04/09 19:30:01 8:live:ph2corp_2: <partlist type="missed" alt=""
               callId="d140d87d-a300-494f-aea5-73c2ac3aaf1e"><part
               identity="live:ph2corp_2"><name>Peter Harris</name></part><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></part></
               partlist>
               2024/04/09 19:31:21 David Sham: I was only trying to ask you if you
               figured out the wire to kraken
               2024/04/09 19:31:35 David Sham: Are you changing banks ? Did you try
               again ?
               2024/04/09 19:40:02 David Sham: You there ?
               2024/04/09 19:40:47 8:live:ph2corp_2: Yes, kraken rejected it, trying
               to find out why.
               2024/04/09 19:50:06 David Sham: Okay
               2024/04/10 02:44:27 David Sham: So the issue is from kraken, not your
               bank ?




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 30 of 238 PageID #:
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               2024/04/10 08:10:28 8:live:ph2corp_2: Yes, kraken is investigating
               2024/04/10 08:50:37 David Sham: Okay
               2024/04/10 08:50:52 David Sham: So maybe try crypto.com this time
               2024/04/10 09:31:54 David Sham: The month’s run is starting today.
               2024/04/10 09:32:22 8:live:ph2corp_2: We won&apos;t make it today
               2024/04/10 09:33:10 David Sham: I figured. Have you been able to
               figure out the issue with your wire ?
               2024/04/10 09:34:38 David Sham: Do you think you want to try
               crypto.com if they’ll be nice to you
               2024/04/10 10:14:07 8:live:ph2corp_2: Is it too late to trade then?
               Shall we wait for next month&apos;s run?
               2024/04/10 12:39:23 8:live:ph2corp_2: Success. I was able to get $20k
               into upwintrade.
               $5k more coming tomorrow.
               2024/04/10 13:13:07 David Sham: <quote author="live:ph2corp_2"
               authorname="Peter Harris" timestamp="1712762047"
               conversation="8:live:ph2corp_2" messageid="1712762047240"
               cuid="12076467491744547153"><legacyquote>[1712762047] Peter Harris: </
               legacyquote>Is it too late to trade then? Shall we wait for next
               month&apos;s run?<legacyquote>

               &lt;&lt;&lt; </legacyquote></quote>It’s not too late, there are so
               many more trades this month. The run only started today.
               2024/04/10 13:13:19 David Sham: <quote author="live:ph2corp_2"
               authorname="Peter Harris" timestamp="1712770764"
               conversation="8:live:ph2corp_2" messageid="1712770763909"
               cuid="7433787641634837991"><legacyquote>[1712770764] Peter Harris: </
               legacyquote>Success. I was able to get $20k into upwintrade.
               $5k more coming tomorrow.<legacyquote>

               &lt;&lt;&lt; </legacyquote></quote>What platform did you use
               2024/04/10 13:14:23 8:live:ph2corp_2: Kraken was fast when done
               correctly.
               2024/04/10 13:15:15 8:live:ph2corp_2: Okay great, another $5k tomorrow
               2024/04/10 13:17:54 David Sham: <quote author="live:ph2corp_2"
               authorname="Peter Harris" timestamp="1712772864"
               conversation="8:live:ph2corp_2" messageid="1712772863932"
               cuid="6892842439347755449"><legacyquote>[1712772864] Peter Harris: </
               legacyquote>Kraken was fast when done correctly.<legacyquote>

               &lt;&lt;&lt; </legacyquote></quote>Okay awesome, i wondered why they
               were stressing you, because it works easily for me.
               2024/04/10 13:26:08 8:live:ph2corp_2: I think I have it down now.
               Their customer service was great.
               2024/04/10 16:52:47 David Sham: Okay great. When do you intend to send
               the remaining 75K. So I know how to strategise your trade
               2024/04/10 16:56:38 8:live:ph2corp_2: The 75k won&apos;t come until
               May 1st now. That account needs more notice to withdraw from. Only the
               5k by tomorrow is next.
               2024/04/10 19:31:14 David Sham: Okay that’s cool, if you say so,




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 31 of 238 PageID #:
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               otherwise I think if you invest that money it will be of great win for
               you with the current algorithm. You can speak to your friend who
               referred you and ask how I work. The trade for 10th may already won.
               Just like I told you last week, you can clearly see Btc is already
               rocketing and it’s heading for 100K.
               2024/04/10 19:33:08 David Sham: The reason why I ask you to fund is
               because, the software can only place trades with invested amount, not
               the whole account balance
               2024/04/10 19:35:40 David Sham: We already placed a long trade with
               the funds in account because of the previous algorithm, with extra
               funds, we’ll have opportunities to place the high trades that pop up
               on this month algorithm run. Which will bring you very heavy returns
               before your withdrawal date. I’m not asking me to send me money, you
               are simply funding your own account with funds that you won’t lose.
               2024/04/10 19:37:31 David Sham: Knowing that you were going to fund a
               100K extra, I already structured your account on how it should run the
               rest of the month. It’s just quite sad, you backing out because this
               was about to be the best month out of your 3 months run
               2024/04/10 19:48:02 8:live:ph2corp_2: I&apos;m sad too. But pulling
               funds out of this account has to go through a lot of approvals that I
               am not in control over. I&apos;ll have it by May 1st.
               2024/04/10 19:48:31 David Sham: Okay
               2024/04/11 08:08:09 8:live:ph2corp_2: Hi David, transfer into
               upwintrade is done!
               Huge win yesterday!
               2024/04/11 09:17:59 David Sham: Thank you, could have been a whole lot
               more wins, but you backing out. Lmk when funds in account
               2024/04/11 09:24:40 8:live:ph2corp_2: I know!!
               But we did our best.
               We enjoy working with you. More deposits on the way soon!
               2024/04/11 09:31:48 David Sham: Is that after May 1st or before your
               withdrawal, so I know how to structure your account
               2024/04/11 09:32:52 8:live:ph2corp_2: What&apos;s the exact date of
               withdrawal?
               2024/04/11 09:34:02 David Sham: Withdrawal opens May 2nd. I think
               there’s a lot to be done with your account before then, especially
               with the current market algorithm
               2024/04/11 09:39:52 8:live:ph2corp_2: If we could try and get another
               $25k this week, what type of return could we get by May 1st you think?
               Just a guess.
               2024/04/11 10:53:32 David Sham: Very close to $3M or more
               2024/04/11 10:54:24 David Sham: With extra the $75K, you’ll be at $5M
               or more. The market is going to sky rocket in the next 2 weeks
               2024/04/11 12:25:06 8:live:ph2corp_2: Okay you should have the $5k
               now. We&apos;ll send another $25k this week.
               2024/04/11 12:36:52 8:live:ph2corp_2: After May 1st, we should be able
               to do more.
               2024/04/11 12:38:11 David Sham: Okay, keep me posted
               2024/04/11 18:29:07 David Sham: Bang <ss
               type="1f4a5_collisionsymbol">(bang)</ss>




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 32 of 238 PageID #:
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               2024/04/11 18:29:16 David Sham: Another 200K win
               2024/04/11 18:29:57 8:live:ph2corp_2: Can we speak for a quick minute?
               2024/04/11 18:30:06 David Sham: For sure
               2024/04/11 18:30:21 8:live:ph2corp_2: <partlist type="started" alt=""
               callId="27e20c8a-4d64-4ac1-a97b-60956a393fdd"><part
               identity="live:ph2corp_2"><name>Peter Harris</name></part><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></part></
               partlist>
               2024/04/11 18:33:30 8:live:ph2corp_2: <partlist type="ended" alt=""
               callId="27e20c8a-4d64-4ac1-a97b-60956a393fdd"><part
               identity="live:ph2corp_2"><name>Peter Harris</name><duration>189.392</
               duration></part><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</
               name><duration>189.392</duration></part></partlist>
               2024/04/12 09:51:36 David Sham: Kindly let me know when sent
               2024/04/12 09:55:20 8:live:ph2corp_2: $5k you should have in
               upwintrade.
               $25k waiting for check to clear, should have that by Tues/Wed. Same
               with $75k.
               2024/04/12 09:51:36 David Sham: Kindly let me know when sent
               2024/04/14 23:38:13 8:live:ph2corp_2: Hi David,
               We combined the 25k and 75k, so we&apos;ll be sending $100k. Wire
               transfer to initiate Monday. Will keep you posted.
               2024/04/15 07:14:12 David Sham: Okay, keep me posted
               2024/04/15 08:00:26 8:live:ph2corp_2: Question: when we withdraw on
               May 2nd, can we transfer from upwintrade into our bank account, or do
               we have to transfer the btc into kraken first, and then into our bank
               account? In other words, what&apos;s the quickest way to USD?
               2024/04/15 09:42:58 David Sham: You can transfer into your bank and
               also Btc to kraken, whichever is convenient for you
               2024/04/15 09:43:21 David Sham: But Btc into kraken is the fastest
               2024/04/15 09:44:38 8:live:ph2corp_2: Why is it faster?
               2024/04/15 09:45:05 8:live:ph2corp_2: Does upwintrade golf onto the $$
               or is there a limit?
               2024/04/15 09:56:28 David Sham: <quote author="live:ph2corp_2"
               authorname="Peter Harris" timestamp="1713192305"
               conversation="8:live:ph2corp_2" messageid="1713192305063"
               cuid="16842666878453691366"><legacyquote>[1713192305] Peter Harris: </
               legacyquote>Does upwintrade golf onto the $$ or is there a limit?
               <legacyquote>

               &lt;&lt;&lt; </legacyquote></quote>No limit
               2024/04/15 09:56:52 David Sham: Also Btc withdrawal is Btc 45 to 50
               mins and funds is received in wallet
               2024/04/15 09:57:02 David Sham: But bank withdrawal takes 2-3 days
               2024/04/15 09:57:20 David Sham: <quote
               author="live:.cid.50fa342aa3647427" authorname="David Sham"
               timestamp="1713193012" conversation="8:live:ph2corp_2"
               messageid="1713193012184"
               cuid="4849733504944705008"><legacyquote>[1713193012] David Sham: </




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 33 of 238 PageID #:
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               legacyquote>Also Btc withdrawal is Btc 45 to 50 mins and funds is
               received in wallet <legacyquote>

               &lt;&lt;&lt; </legacyquote></quote>Between 45-50 mins
               2024/04/15 09:58:24 8:live:ph2corp_2: Typo. Question is doesn&apos;t
               upwintrade go straight into my bank account as USD? I&apos;m okay with
               2-3 days, I&apos;m trying to avoid kraken. I&apos;ll leave your fees
               in as btc and send to you that way.
               2024/04/15 09:58:56 David Sham: <quote author="live:ph2corp_2"
               authorname="Peter Harris" timestamp="1713193104"
               conversation="8:live:ph2corp_2" messageid="1713193104138"
               cuid="10363849752438079854"><legacyquote>[1713193104] Peter Harris: </
               legacyquote>Typo. Question is doesn&apos;t upwintrade go straight into
               my bank account as USD? I&apos;m okay with 2-3 days, I&apos;m trying
               to avoid kraken. I&apos;ll leave your fees in as btc and send to you
               that way.<legacyquote>

               &lt;&lt;&lt; </legacyquote></quote> Okay that’s perfect
               2024/04/15 09:59:50 David Sham: Did you send funds to upwin already ?
               trade will be begin in a few hours
               2024/04/15 10:02:23 8:live:ph2corp_2: You only have the $5k from last
               week.
               Then $100k is being wired into kraken today.
               2024/04/15 10:05:56 David Sham: Yh I’m aware of that, was just asking
               to confirm if you already wired or sent it
               2024/04/15 10:06:35 David Sham: It’s a 10X trade today, very big one
               2024/04/15 10:09:22 8:live:ph2corp_2: As soon as I send it, I&apos;ll
               keep you know. Hopefully today.
               2024/04/15 10:11:11 David Sham: Okay keep me posted
               2024/04/15 10:19:15 David Sham: See to it if you can get it done
               today, the trade today is a 500K win.
               2024/04/15 13:02:49 David Sham: You think you can make it ? The trade
               is in 4 hours
               2024/04/15 13:04:06 8:live:ph2corp_2: No, on the phone with bank now.
               Wire was rejected.
               2024/04/15 13:38:24 David Sham: Okay, is there a reason why they keep
               rejecting it
               2024/04/15 13:42:59 8:live:ph2corp_2: Same old reasons.
               They told us it would go through today. We&apos;ll see.
               2024/04/15 13:44:59 David Sham: Okay, keep me posted
               2024/04/15 13:45:24 David Sham: The trade is in 4 hours. You might
               make it. The wire usually reflects in less than 2 hours
               2024/04/15 16:00:40 8:live:ph2corp_2: Hi David,
               Loni has a question. Could we take $1.5mm out now and not wait until
               May 2nd?
               2024/04/15 16:10:52 David Sham: Withdrawal is only available after
               1st. I think she asked this over the phone call too
               2024/04/15 16:11:54 David Sham: Both yourself and Loni have nothing to
               worry about. I’m not losing your funds and in exactly 2 weeks, you can
               withdraw your funds.




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 34 of 238 PageID #:
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               2024/04/15 16:12:24 David Sham: Trust the process
               2024/04/15 16:17:09 8:live:ph2corp_2: She has her eye on a real estate
               she doesn&apos;t want to lose
               2024/04/15 16:17:57 David Sham: 2 more weeks and she can buy it.
               2024/04/15 16:19:59 David Sham: The trade for today is very huge and
               it’s happening in less than an hour. I’m not sure you can make it
               today. There’s one for tomorrow and then another one for Thursday
               2024/04/15 17:35:37 8:live:ph2corp_2: Loni has another question: who
               is Brad Hills on your FB? That&apos;s under your name.
               2024/04/16 02:31:17 David Sham: I don’t know him. That’s my previous
               fb that was hacked. The hacker changed my name, otherwise I have
               reported to Facebook to close the account so he doesn’t harm my
               clients
               2024/04/16 02:32:20 David Sham: I wasn’t even aware the account was
               still active, thanks to Loni, I have sent more reports to Facebook,
               hopefully the account is closed soon
               2024/04/16 08:39:11 David Sham: <partlist type="missed" alt=""
               callId="f257b17e-7ae8-4ae9-b2b5-a36431994f26"><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></
               part><part identity="live:ph2corp_2"><name>Peter Harris</name></
               part></partlist>
               2024/04/16 08:39:32 David Sham: Give me a call when you&apos;re back.
               2024/04/16 08:40:08 8:live:ph2corp_2: <partlist type="started" alt=""
               callId="0825b381-7a8c-4070-b2ef-b71925db5b7b"><part
               identity="live:ph2corp_2"><name>Peter Harris</name></part><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></part></
               partlist>
               2024/04/16 08:45:12 8:live:ph2corp_2: <partlist type="ended" alt=""
               callId="0825b381-7a8c-4070-b2ef-b71925db5b7b"><part
               identity="live:ph2corp_2"><name>Peter Harris</name><duration>302.817</
               duration></part><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</
               name><duration>302.817</duration></part></partlist>
               2024/04/16 11:49:35 David Sham: Hello    how’s it going ? Are you
               making progress
               2024/04/16 12:04:15 8:live:ph2corp_2: No progress. Chase says our wire
               is under review.
               2024/04/16 12:14:36 David Sham: Okay
               2024/04/16 15:58:39 David Sham: The trade is starting now
               2024/04/16 17:54:43 8:live:ph2corp_2: Wire won&apos;t happen. We
               cancelled it. Going to deposit into another bank, which will take a
               few days.
               2024/04/16 18:04:19 8:live:ph2corp_2: So disappointed in Chase.
               2024/04/16 20:02:38 8:live:ph2corp_2: Can you go ahead and just use
               the $5k sent previously so we can at least trade something?
               2024/04/17 02:57:19 David Sham: Okay sure    keep me posted
               2024/04/17 13:58:54 David Sham: Still going through the chase
               problem ?
               2024/04/17 14:12:33 8:live:ph2corp_2: We gave up on Chase.
               Deposited into another bank but deposit won&apos;t be ready until next




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 35 of 238 PageID #:
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               week.
               2024/04/17 14:30:00 8:live:ph2corp_2: The $100k deposit will be
               available to transfer on the 26th, and then we can wire to kraken and
               then to upwintrade. Is that enough time before May 1st to trade?
               Or should we wait until May when we reinvest?
               2024/04/17 15:01:12 David Sham: Yes perfect timing also, the last week
               has the biggest trades of the month
               2024/04/17 15:47:44 David Sham: I can also fund your account with
               $100K then you refund me once funds available. So you don’t miss the
               tomorrow trade
               2024/04/17 15:54:20 8:live:ph2corp_2: Yes, let&apos;s do that. Thank
               you!
               And then let me know how we can refund you.
               Loni is so grateful for your offer.
               2024/04/17 16:01:19 David Sham: <quote author="live:ph2corp_2"
               authorname="Peter Harris" timestamp="1713387261"
               conversation="8:live:ph2corp_2" messageid="1713387260801"
               cuid="7568625031871041622"><legacyquote>[1713387261] Peter Harris: </
               legacyquote>Yes, let&apos;s do that. Thank you!
               And then let me know how we can refund you.
               Loni is so grateful for your offer.<legacyquote>

               &lt;&lt;&lt; </legacyquote></quote>You can refund me with Btc once you
               buy on the 26th
               2024/04/17 16:01:32 David Sham: Send me your upwin Wallet address <e_m
               a="live:.cid.50fa342aa3647427" ts_ms="1713387652269" ts="1713387652"
               t="61"></e_m>
               2024/04/17 16:00:52 David Sham: Send me your upwin Wallet address <e_m
               a="live:.cid.50fa342aa3647427" ts_ms="1713387652269" ts="1713387652"
               t="61"></e_m>
               2024/04/17 16:16:09 8:live:ph2corp_2: <URIObject uri="https://
               api.asm.skype.com/v1/objects/0-wus-d9-
               e7d62b8d4892baa47c022f46a41a7ad1" url_thumbnail="https://
               api.asm.skype.com/v1/objects/0-wus-d9-
               e7d62b8d4892baa47c022f46a41a7ad1/views/imgt1_anim" type="Picture.1"
               doc_id="0-wus-d9-e7d62b8d4892baa47c022f46a41a7ad1" width="4080"
               height="3072">To view this shared photo, go to: <a href="https://
               login.skype.com/login/sso?go=xmmfallback?pic=0-wus-d9-
               e7d62b8d4892baa47c022f46a41a7ad1">https://login.skype.com/login/sso?
               go=xmmfallback?pic=0-wus-d9-e7d62b8d4892baa47c022f46a41a7ad1</
               a><OriginalName v="0115faaf-c3dc-4fc4-a7fe-befa9443729d.jpg"></
               OriginalName><FileSize v="9463518"></FileSize><meta type="photo"
               originalName="0115faaf-c3dc-4fc4-a7fe-befa9443729d.jpg"></meta></
               URIObject>
               2024/04/17 19:56:51 David Sham: Sent
               2024/04/17 20:10:19 8:live:ph2corp_2: We got it!
               Very much appreciated David!
               2024/04/18 14:58:48 David Sham: You are welcome. Won the trade for
               today.
               2024/04/18 15:00:25 David Sham: If there’s also a way to get funds to




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 36 of 238 PageID #:
                                                            639
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               me before 26th, would be much appreciated.
               2024/04/18 15:00:55 David Sham: Another huge trade popped up for
               tomorrow, I already placed the trade, fingers crossed
               2024/04/18 15:03:43 8:live:ph2corp_2: <URIObject uri="https://
               api.asm.skype.com/v1/objects/0-wus-d3-
               b12e99481c11283c4b0f4568cb2df103" url_thumbnail="https://
               api.asm.skype.com/v1/objects/0-wus-d3-
               b12e99481c11283c4b0f4568cb2df103/views/imgt1_anim" type="Picture.1"
               doc_id="0-wus-d3-b12e99481c11283c4b0f4568cb2df103" width="1008"
               height="1673">To view this shared photo, go to: <a href="https://
               login.skype.com/login/sso?go=xmmfallback?pic=0-wus-d3-
               b12e99481c11283c4b0f4568cb2df103">https://login.skype.com/login/sso?
               go=xmmfallback?pic=0-wus-d3-b12e99481c11283c4b0f4568cb2df103</
               a><OriginalName v="ImportedPhoto_1713470539039.jpg"></
               OriginalName><FileSize v="279880"></FileSize><meta type="photo"
               originalName="ImportedPhoto_1713470539039.jpg"></meta></URIObject>
               2024/04/18 15:03:43 8:live:ph2corp_2: Waiting for it to hit the
               account. The new bank told Loni April 25-26. As soon as it&apos;s in,
               we&apos;ll get it done and sent to you.
               2024/04/18 15:17:14 David Sham: Okay keep me posted
               2024/04/18 15:19:05 8:live:ph2corp_2: Wow, big win!! I just saw it,
               that&apos;s great!!
               2024/04/18 15:21:45 8:live:ph2corp_2: Good luck on tomorrow&apos;s
               trade!
               2024/04/18 15:35:57 David Sham:
               2024/04/20 14:33:10 8:live:ph2corp_2: 2 great trades David
               2024/04/21 07:48:13 David Sham: Thank you, very big week ahead. New
               trades popped up for the week, I needed my coin for those trades but
               it’s all good.
               2024/04/21 07:48:22 David Sham: I’ll figure it out
               2024/04/21 07:48:22 David Sham: I’ll figure it out
               2024/04/21 14:13:46 8:live:ph2corp_2: Okay we&apos;ll get it back to
               you as soon as it appears. Thanks again.
               2024/04/23 00:41:01 David Sham: You’re welcome
               2024/04/23 17:40:42 8:live:ph2corp_2: Hi David,
               Quick question: what is the max USD withdrawal limit for upwintrade
               will we have on May 2nd? Crypto and Kraken max is $500k USD per month.
               2024/04/23 17:40:43 8:live:ph2corp_2: Hi David,
               Quick question: what is the max USD withdrawal limit for upwintrade
               will we have on May 2nd? Crypto and Kraken max is $500k USD per month.
               2024/04/24 00:29:08 David Sham: A lot of my clients use Coinbase to
               withdraw, because Coinbase allows any amount
               2024/04/24 00:32:01 David Sham: I also use coinbase wallet for
               withdrawal
               2024/04/24 07:52:09 8:live:ph2corp_2: Thanks for that, but my question
               is: is there a monthly USD withdrawal limit for upwintrade?
               2024/04/24 09:03:26 8:live:ph2corp_2: Can I withdraw all of it in USD
               on May 2nd, minus your fee?
               2024/04/24 10:21:20 David Sham: <quote author="live:ph2corp_2"
               authorname="Peter Harris" timestamp="1713963130"




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 37 of 238 PageID #:
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               conversation="8:live:ph2corp_2" messageid="1713963129593"
               cuid="4781125361538015143"><legacyquote>[1713963130] Peter Harris: </
               legacyquote>Thanks for that, but my question is: is there a monthly
               USD withdrawal limit for upwintrade?<legacyquote>

               &lt;&lt;&lt; </legacyquote></quote>No there isn’t.
               2024/04/24 10:21:35 David Sham: <quote author="live:ph2corp_2"
               authorname="Peter Harris" timestamp="1713967406"
               conversation="8:live:ph2corp_2" messageid="1713967406436"
               cuid="18001607003676140713"><legacyquote>[1713967406] Peter Harris: </
               legacyquote>Can I withdraw all of it in USD on May 2nd, minus your
               fee?<legacyquote>

               &lt;&lt;&lt; </legacyquote></quote>Yes
               2024/04/24 10:45:40 8:live:ph2corp_2: Thanks.
               Btw, the $100k will be available 4/25 for me to wire to kraken.
               I&apos;ll keep you posted.
               2024/04/24 13:19:26 David Sham: Okay thank you. I was going to ask if
               there’s a way I can get $20K today. There’s a 15X trade for tomorrow
               evening, and I don’t know how quick I’ll receive funds tomorrow. I
               don’t want to miss out the trade. I already placed the trade on your
               account
               2024/04/24 13:48:13 8:live:ph2corp_2: Hi David,
               I wish I could get you 20k today but I won&apos;t be back until this
               evening. Sorry about that.
               2024/04/25 07:04:35 David Sham: All good, I sent a wire yesterday,
               sorted. Today’s going to be a good that
               2024/04/25 07:07:16 David Sham: I staked $50K on it from your
               account , fingers crossed
               2024/04/25 08:07:01 8:live:ph2corp_2: Ok glad you worked that out.
               I&apos;ll keep you posted.
               2024/04/25 14:22:49 8:live:ph2corp_2: $100k wired. Waiting for it to
               hit kraken.
               2024/04/25 14:42:37 David Sham: Okay, keep me posted
               2024/04/25 15:46:28 David Sham: How’s it going ?
               2024/04/25 15:59:01 8:live:ph2corp_2: <URIObject uri="https://
               api.asm.skype.com/v1/objects/0-wus-d12-
               ac4a8ccd05c896e04c1ec90d81737a2d" url_thumbnail="https://
               api.asm.skype.com/v1/objects/0-wus-d12-
               ac4a8ccd05c896e04c1ec90d81737a2d/views/imgt1_anim" type="Picture.1"
               doc_id="0-wus-d12-ac4a8ccd05c896e04c1ec90d81737a2d"
               width="919.9572192513369" height="2048">To view this shared photo, go
               to: <a href="https://login.skype.com/login/sso?go=xmmfallback?pic=0-
               wus-d12-ac4a8ccd05c896e04c1ec90d81737a2d">https://login.skype.com/
               login/sso?go=xmmfallback?pic=0-wus-d12-
               ac4a8ccd05c896e04c1ec90d81737a2d</a><OriginalName
               v="1714078741121.JPEG"></OriginalName><FileSize v="41902"></
               FileSize><meta type="photo" originalName="1714078741121.JPEG"></
               meta></URIObject>
               2024/04/25 15:59:59 8:live:ph2corp_2: Made the $100k purchase.




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 38 of 238 PageID #:
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               Next, I need to transfer to your wallet, correct?
               2024/04/25 16:00:39 David Sham:
               bc1qvtk2a2yk3k42tndpeyctzesawhmtr4upn52f38
               2024/04/25 16:00:43 David Sham: This is my wallet
               2024/04/25 16:07:33 8:live:ph2corp_2: Done!
               2024/04/25 16:08:30 8:live:ph2corp_2: Due to fees, it was short,
               we&apos;ll reimburse the rest in May, is that okay?
               2024/04/25 16:11:02 David Sham: Okay
               2024/04/25 16:13:16 David Sham: Did transfer go through ?
               2024/04/25 16:13:21 David Sham: I haven’t received yet
               2024/04/25 16:16:16 8:live:ph2corp_2: <URIObject uri="https://
               api.asm.skype.com/v1/objects/0-wus-
               d1-8f4b7dd3a8ef8e3527f8e5879c4e1ca1" url_thumbnail="https://
               api.asm.skype.com/v1/objects/0-wus-
               d1-8f4b7dd3a8ef8e3527f8e5879c4e1ca1/views/imgt1_anim" type="Picture.1"
               doc_id="0-wus-d1-8f4b7dd3a8ef8e3527f8e5879c4e1ca1" width="2131"
               height="1199">To view this shared photo, go to: <a href="https://
               login.skype.com/login/sso?go=xmmfallback?pic=0-wus-
               d1-8f4b7dd3a8ef8e3527f8e5879c4e1ca1">https://login.skype.com/login/
               sso?go=xmmfallback?pic=0-wus-d1-8f4b7dd3a8ef8e3527f8e5879c4e1ca1</
               a><OriginalName v="ImportedPhoto_1714079772145.jpg"></
               OriginalName><FileSize v="883972"></FileSize><meta type="photo"
               originalName="ImportedPhoto_1714079772145.jpg"></meta></URIObject>
               2024/04/25 16:16:56 David Sham: Okay I’ll let you know once received
               2024/04/25 16:21:26 8:live:ph2corp_2: Sounds good
               2024/04/25 16:32:16 David Sham: Received $97,150. You’ll send the
               balance you owe me on withdrawal right ?
               2024/04/25 16:34:33 8:live:ph2corp_2: Yes, if you&apos;re okay with
               that. If not, I can start another wire Monday. Let me know.
               2024/04/25 16:41:24 David Sham: Okay, Monday better
               2024/04/25 16:41:24 David Sham: Okay, Monday better
               2024/04/25 16:47:51 8:live:ph2corp_2: Great, will do.
               2024/04/25 17:32:43 David Sham: Won the trade, did you notice
               2024/04/25 18:18:32 8:live:ph2corp_2: We sure did! Wow, awesome!
               What I&apos;m learning is that the larger the account balance, then
               the more you can leverage. Is that true?
               2024/04/25 18:26:20 David Sham: The larger the invested amount, the
               more I can leverage because trades pop up everytime
               2024/04/25 18:27:18 David Sham: Next week is an amazing week. The
               market is looking so good, it will have the biggest trades of the year
               so far
               2024/04/25 18:28:05 David Sham: If you can leverage more, I advice you
               opt in
               2024/04/26 05:28:52 David Sham:
               2024/04/26 05:28:31 David Sham:
               2024/04/26 06:56:02 8:live:ph2corp_2: Hi David,
               I just saw a message from you stating that my Skype account has been
               hacked and someone has been asking you about withdrawal. And now, I no
               longer see that message. Was that you?
               2024/04/26 08:33:23 David Sham: Yes that was me. Kindly set up a new




                                                                                             HAR0048
     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 39 of 238 PageID #:
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               Skype account and add me again
               2024/04/26 08:35:00 8:live:ph2corp_2: I want to make sure this is you.
               Can you call me.
               2024/04/26 08:37:49 David Sham: <partlist type="started" alt=""
               callId="ecbad6ab-714e-44f6-bc4c-997370c69a63"><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></
               part><part identity="live:ph2corp_2"><name>Peter Harris</name></
               part></partlist>
               2024/04/26 08:39:41 David Sham: <partlist type="ended" alt=""
               callId="ecbad6ab-714e-44f6-bc4c-997370c69a63"><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</
               name><duration>112.43</duration></part><part
               identity="live:ph2corp_2"><name>Peter Harris</name><duration>112.43</
               duration></part></partlist>
               2024/04/26 12:37:54 David Sham: Hello Peter, waiting for your message
               on the new account
               2024/04/26 12:39:10 8:live:ph2corp_2: Working on it




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 40 of 238 PageID #:
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                                                                                  """                     !
               2024/04/26 15:39:05 8:live:.cid.a749ebc417855e2c: <ss
               type="hi">(wave)</ss>
               2024/04/26 15:39:21 8:live:.cid.a749ebc417855e2c: Frpm Peter and Loni
               2024/04/26 17:15:15 8:live:.cid.a749ebc417855e2c: 2850+ sent to your
               wallet
               2024/04/26 19:39:35 David Sham: Hello    Peter, Hello     Loni
               2024/04/26 19:39:39 David Sham: How are you ?
               2024/04/26 19:40:03 David Sham: <quote
               author="live:.cid.a749ebc417855e2c" authorname="Peter H Harris"
               timestamp="1714169716" conversation="8:live:.cid.a749ebc417855e2c"
               messageid="1714169716264"
               cuid="12920595862375113722"><legacyquote>[1714169716] Peter H Harris:
               </legacyquote>2850+ sent to your wallet <legacyquote>

               &lt;&lt;&lt; </legacyquote></quote>I received it
               2024/04/26 19:40:13 8:live:.cid.a749ebc417855e2c: Awesome
               2024/04/26 19:42:12 David Sham: Monday is a very big day. Patiently
               waiting for it
               2024/04/26 19:42:38 8:live:.cid.a749ebc417855e2c: What&apos;s
               happening Monday?
               2024/04/26 19:43:12 David Sham: X25 trade. It’s the biggest trade so
               far this year
               2024/04/26 19:43:27 8:live:.cid.a749ebc417855e2c: Are we in that
               trade?
               2024/04/26 19:45:52 David Sham: Trade popped up yesterday, could only
               place 10K on it, that’s like a 250K win for you. Fair enough
               2024/04/26 19:46:42 David Sham: If you had 50K on it that’s $1,250,000
               win
               2024/04/26 19:47:28 8:live:.cid.a749ebc417855e2c: $10k is fine.
               Let&apos;s go with it.
               2024/04/26 19:47:49 David Sham:
               2024/04/26 19:48:39 8:live:.cid.a749ebc417855e2c: Thank you.
               Looking forward to withdrawing next week too, can&apos;t wait.
               2024/04/26 19:49:25 David Sham: 100% let’s get it
               2024/04/29 10:34:15 8:live:.cid.a749ebc417855e2c: Hi David,
               I want to prepare my bank for a large deposit from upwintrade. When I
               withdraw USD directly from upwintrade to my US back, will it be a wire
               transfer or ACH? Or another method? Thanks
               2024/04/29 12:58:28 David Sham: When are you available for a call ?
               2024/04/29 13:12:41 8:live:.cid.a749ebc417855e2c: Now
               2024/04/29 13:13:33 8:live:.cid.a749ebc417855e2c: <partlist
               type="missed" alt=""
               callId="69c8f11c-6144-43ae-9f8f-969a054bc6e9"><part
               identity="live:.cid.a749ebc417855e2c"><name>Peter H Harris</name></
               part><part identity="live:.cid.50fa342aa3647427"><name>David Sham</
               name></part></partlist>
               2024/04/29 13:13:56 8:live:.cid.a749ebc417855e2c: I&apos;m available
               for next 45 minutes
               2024/04/29 15:01:34 David Sham: Available now ?




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 41 of 238 PageID #:
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               2024/04/29 15:02:31 8:live:.cid.a749ebc417855e2c: <partlist
               type="started" alt="" callId="7857e88a-0c4b-481d-
               bf73-967ea0fe3d99"><part
               identity="live:.cid.a749ebc417855e2c"><name>Peter H Harris</name></
               part><part identity="live:.cid.50fa342aa3647427"><name>David Sham</
               name></part></partlist>
               2024/04/29 15:10:58 David Sham: <partlist type="missed" alt=""
               callId="9863955b-d3ca-4995-96d9-678623c70665"><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></
               part><part identity="live:.cid.a749ebc417855e2c"><name>Peter H
               Harris</name></part></partlist>
               2024/04/29 15:10:16 8:live:.cid.a749ebc417855e2c: <partlist
               type="ended" alt="" callId="7857e88a-0c4b-481d-
               bf73-967ea0fe3d99"><part
               identity="live:.cid.a749ebc417855e2c"><name>Peter H Harris</
               name><duration>463.191</duration></part><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</
               name><duration>463.191</duration></part></partlist>
               2024/04/29 15:10:55 8:live:.cid.a749ebc417855e2c: <partlist
               type="missed" alt="" callId="4911dc6b-97ac-4a44-98ad-
               daf7a60cde09"><part identity="live:.cid.a749ebc417855e2c"><name>Peter
               H Harris</name></part><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></part></
               partlist>
               2024/04/29 15:13:18 8:live:.cid.a749ebc417855e2c: <partlist
               type="started" alt="" callId="403f27fe-d808-47c8-aa6b-
               a4fd98457eb8"><part identity="live:.cid.a749ebc417855e2c"><name>Peter
               H Harris</name></part><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></part></
               partlist>
               2024/04/29 15:14:54 8:live:.cid.a749ebc417855e2c: <partlist
               type="ended" alt="" callId="403f27fe-d808-47c8-aa6b-
               a4fd98457eb8"><part identity="live:.cid.a749ebc417855e2c"><name>Peter
               H Harris</name><duration>95.515</duration></part><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</
               name><duration>95.515</duration></part></partlist>
               2024/05/01 13:24:45 8:live:.cid.a749ebc417855e2c: Hi David,
               Big win yesterday, congrats! We&apos;re looking forward to reinvesting
               with you as well. Today is the big day, where we get to withdraw $.
               Will I be able to start withdrawal at midnight, 12am my time?
               And when will you tell us what your payment is?
               Thanks
               2024/05/02 09:14:58 8:live:.cid.a749ebc417855e2c: Hi David, I&apos;m
               available now if you&apos;re able.
               2024/05/02 03:30:45 David Sham: When can I call you to explain the
               whole process ? Withdrawal is available at the end of today.
               2024/05/02 16:19:42 8:live:.cid.a749ebc417855e2c: David, are you
               available?
               2024/05/02 16:56:41 David Sham: Available in 1 hour
               2024/05/02 16:57:12 8:live:.cid.a749ebc417855e2c: Call you then,




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 42 of 238 PageID #:
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               thanks
               2024/05/02 17:54:36 8:live:.cid.a749ebc417855e2c: <partlist
               type="missed" alt="" callId="546105be-
               bc53-4731-8f84-9be6a85e1d7b"><part
               identity="live:.cid.a749ebc417855e2c"><name>Peter H Harris</name></
               part><part identity="live:.cid.50fa342aa3647427"><name>David Sham</
               name></part></partlist>
               2024/05/02 18:12:15 David Sham: <partlist type="missed" alt=""
               callId="adace1f1-1bee-4671-8441-3c31264bb707"><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></
               part><part identity="live:.cid.a749ebc417855e2c"><name>Peter H
               Harris</name></part></partlist>
               2024/05/02 18:13:17 David Sham: <partlist type="missed" alt=""
               callId="68cb2cb8-a2e5-4fcd-b828-630746c5c661"><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></
               part><part identity="live:.cid.a749ebc417855e2c"><name>Peter H
               Harris</name></part></partlist>
               2024/05/02 18:36:34 8:live:.cid.a749ebc417855e2c: <partlist
               type="missed" alt="" callId="3d5836c8-2bf4-4a4a-
               bc6f-29eb22d90f4d"><part
               identity="live:.cid.a749ebc417855e2c"><name>Peter H Harris</name></
               part><part identity="live:.cid.50fa342aa3647427"><name>David Sham</
               name></part></partlist>
               2024/05/02 18:37:18 8:live:.cid.a749ebc417855e2c: <partlist
               type="missed" alt="" callId="5c6d6cd8-3d70-44bb-877c-
               a43f71aa13e9"><part identity="live:.cid.a749ebc417855e2c"><name>Peter
               H Harris</name></part><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></part></
               partlist>
               2024/05/02 18:37:37 8:live:.cid.a749ebc417855e2c: Let me know when
               you&apos;re available, thanks.
               2024/05/02 18:38:18 David Sham: <partlist type="started" alt=""
               callId="f1915bba-06c9-4cd9-924e-00c4a3d017b1"><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></
               part><part identity="live:.cid.a749ebc417855e2c"><name>Peter H
               Harris</name></part></partlist>
               2024/05/02 18:44:22 David Sham: <partlist type="ended" alt=""
               callId="f1915bba-06c9-4cd9-924e-00c4a3d017b1"><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</
               name><duration>364.04</duration></part><part
               identity="live:.cid.a749ebc417855e2c"><name>Peter H Harris</
               name><duration>364.04</duration></part></partlist>
               2024/05/02 23:42:34 8:live:.cid.a749ebc417855e2c: Okay, I requested a
               $1250 withdrawal.
               Once this is successful, I&apos;ll withdraw the rest.
               2024/05/03 07:41:40 8:live:.cid.a749ebc417855e2c: Checking in to see
               if you saw my first withdrawal request. Nothing in my coinbase wallet
               yet. Thanks
               2024/05/03 14:00:57 David Sham: Sorry Peter, it’s just one trade I
               haven’t closed. That’s why there’s a delay




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 43 of 238 PageID #:
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               2024/05/03 14:14:47 David Sham: All trades need to end first. In a few
               hours, I’ll end the trade
               2024/05/03 14:15:35 David Sham: It’s a x8 trade, let’s just add a last
               win
               2024/05/03 14:17:59 8:live:.cid.a749ebc417855e2c: Sounds good David,
               thanks!
               2024/05/05 13:45:24 David Sham: Finally ended the trade, I’m so sorry
               for the delay, I was losing the trade and didn’t want you to panic
               2024/05/05 15:06:50 8:live:.cid.a749ebc417855e2c: We appreciate that
               so much. When will you release the first small deposit?
               2024/05/05 15:11:27 8:live:.cid.a749ebc417855e2c: Great win, by the
               way!!
               2024/05/05 15:42:40 David Sham: The request cancelled
               2024/05/05 15:43:03 David Sham: Looks like you did it wrongly, because
               I didn’t see any notification
               2024/05/05 15:43:26 8:live:.cid.a749ebc417855e2c: What do you think I
               did wrong?
               2024/05/05 15:43:53 David Sham: You need to enter your USDT wallet
               address where it says description
               2024/05/05 15:44:18 David Sham: Not your “coinbase wallet” username
               2024/05/05 15:44:48 8:live:.cid.a749ebc417855e2c: Where is that wallet
               address?

               2024/05/05 15:45:26 David Sham: You can you either search for ETH or
               Tether, it’s same address
               2024/05/05 15:45:33 David Sham: On your coinbase wallet
               2024/05/05 15:47:35 8:live:.cid.a749ebc417855e2c: Oh okay, I&apos;ll
               do that.
               2024/05/05 15:53:15 8:live:.cid.a749ebc417855e2c: Ok just made another
               withdrawal request using my ETH wallet address from my Coinbase
               Wallet.
               2024/05/05 16:28:05 David Sham: <URIObject uri="https://
               api.asm.skype.com/v1/objects/0-weu-
               d3-68f88b417f20209e82113e0701df07b0" url_thumbnail="https://
               api.asm.skype.com/v1/objects/0-weu-
               d3-68f88b417f20209e82113e0701df07b0/views/imgt1_anim" type="Picture.1"
               doc_id="0-weu-d3-68f88b417f20209e82113e0701df07b0" width="1186"
               height="500">To view this shared photo, go to: <a href="https://
               login.skype.com/login/sso?go=xmmfallback?pic=0-weu-
               d3-68f88b417f20209e82113e0701df07b0">https://login.skype.com/login/
               sso?go=xmmfallback?pic=0-weu-d3-68f88b417f20209e82113e0701df07b0</
               a><OriginalName v="ImportedPhoto.736637285.335185.jpeg"></
               OriginalName><FileSize v="42096"></FileSize><meta type="photo"
               originalName="ImportedPhoto.736637285.335185.jpeg"></meta></URIObject>
               2024/05/05 16:28:24 David Sham: I received notification, send me
               withdrawal code
               2024/05/05 16:30:32 David Sham: To approve withdrawal on software
               2024/05/05 16:30:56 8:live:.cid.a749ebc417855e2c: rlyc6H
               2024/05/05 16:31:27 8:live:.cid.a749ebc417855e2c: Sent
               2024/05/05 16:34:38 David Sham: 10% upfront is $609,515. When do you




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 44 of 238 PageID #:
                                                            647
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               intend to make payment
               2024/05/05 16:36:29 8:live:.cid.a749ebc417855e2c: Loni is asking why
               don&apos;t you take the 20% upfront?
               2024/05/05 16:37:04 8:live:.cid.a749ebc417855e2c: I can&apos;t believe
               people do that to you, that&apos;s horrible.
               2024/05/05 16:55:13 David Sham: I work with a team of traders and we
               all agreed on upfront on any withdrawal after so many people played us
               2024/05/05 16:58:33 8:live:.cid.a749ebc417855e2c: Does that mean we
               can&apos;t withdraw after one month?
               2024/05/05 17:02:43 David Sham: Of cos you can withdraw anytime, I
               mean your withdrawal Wallet address you just used, can only be changed
               once a month
               2024/05/05 17:03:52 8:live:.cid.a749ebc417855e2c: Ok that&apos;s good,
               so we&apos;ll be able to withdraw today and see the $$ in the Coinbase
               Wallet tomorrow?
               2024/05/05 17:03:53 David Sham: Withdrawal will be approved as soon as
               upfront payment on commission is paid
               2024/05/05 17:03:53 David Sham: Withdrawal will be approved as soon as
               upfront payment on commission is paid
               2024/05/05 17:04:39 8:live:.cid.a749ebc417855e2c: How do I pay it?
               2024/05/05 17:05:07 8:live:.cid.a749ebc417855e2c: We&apos;d like to
               pay you the entire commission because you earned it.
               2024/05/05 17:29:03 8:live:.cid.a749ebc417855e2c: Do I make a withdraw
               request into your wallet for the upfront commission?
               2024/05/05 19:06:05 David Sham: Upfront is paid out of pocket, you can
               ask Orlando the process. He pays 15% upfront
               2024/05/05 19:09:22 8:live:.cid.a749ebc417855e2c: How do we pay you
               15% out of pocket? I don&apos;t have $1MM in cash sitting around.
               I&apos;m confused, please explain. Orlando takes 2-3 weeks to get an
               answer from. Please explain.
               2024/05/05 19:12:31 8:live:.cid.a749ebc417855e2c: Or do I pay you from
               upwintrade?
               2024/05/05 19:31:27 8:live:.cid.a749ebc417855e2c: Can I call you?
               2024/05/05 19:48:43 8:live:.cid.a749ebc417855e2c: <partlist
               type="missed" alt="" callId="543e780f-609d-4149-8373-
               cf571d79d5c0"><part identity="live:.cid.a749ebc417855e2c"><name>Peter
               H Harris</name></part><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></part></
               partlist>
               2024/05/05 20:07:02 David Sham: I’m not asking you to pay 15%
               2024/05/05 20:07:44 David Sham: It’s usually 15% but I spoke to the
               team to agree 10% since it’s your first time
               2024/05/05 20:08:18 8:live:.cid.a749ebc417855e2c: Can I call you,
               I&apos;m very confused on the process.
               2024/05/05 20:09:25 David Sham: Give me an hour to round up my
               trading. I’ll call you
               2024/05/05 20:09:50 8:live:.cid.a749ebc417855e2c: Okay talk to you in
               an hour, thanks.
               2024/05/05 20:13:17 David Sham: Sure thing. Call you in a bit
               2024/05/05 20:14:21 David Sham: I usually charge 15% upfront on




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 45 of 238 PageID #:
                                                            648
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               commission before accepting withdrawal on software, because of people
               in the past who have withdrawn and run off without paying my
               commission. I&apos;ll charge you 10% upfront because it&apos;s the
               first time.<e_m a="live:.cid.50fa342aa3647427" ts_ms="1714944839003"
               ts="1714944839" t="61"></e_m>
               2024/05/05 16:33:59 David Sham: I usually charge 15% upfront on
               commission before accepting withdrawal on software, because of people
               in the past who have withdrawn and run off without paying my
               commission. I&apos;ll charge you 10% upfront because it&apos;s the
               first time.<e_m a="live:.cid.50fa342aa3647427" ts_ms="1714944839003"
               ts="1714944839" t="61"></e_m>
               2024/05/05 20:14:30 David Sham: Total balance after trading -
               $6,415,665
               Amount invested - $320,509
               Profit earned - (Total balance - Amount invested ) $6,095,156
               My commission is 20% of profit made - $1,219,031 <e_m
               a="live:.cid.50fa342aa3647427" ts_ms="1714944828619" ts="1714944828"
               t="61"></e_m>
               2024/05/05 16:33:48 David Sham: Total balance after trading -
               $6,415,665
               Amount invested - $320,509
               Profit earned - (Total balance - Amount invested ) $6,095,156
               My commission is 20% of profit made - $1,219,031 <e_m
               a="live:.cid.50fa342aa3647427" ts_ms="1714944828619" ts="1714944828"
               t="61"></e_m>
               2024/05/05 20:14:47 David Sham: I don’t have access to take funds out
               of your account, also with the new withdrawal system, withdrawal can
               only go to one wallet address, which can only be changed once a
               month.<e_m a="live:.cid.50fa342aa3647427" ts_ms="1714945981000"
               ts="1714945981" t="61"></e_m>
               2024/05/05 16:53:01 David Sham: I don’t have access to take funds out
               of your account, also with the new withdrawal system, withdrawal can
               only go to one wallet address, which can only be changed once a
               month.<e_m a="live:.cid.50fa342aa3647427" ts_ms="1714945981000"
               ts="1714945981" t="61"></e_m>
               2024/05/05 21:30:22 8:live:.cid.a749ebc417855e2c: Are you available?
               2024/05/06 07:51:24 8:live:.cid.a749ebc417855e2c: Hi David,
               Here is my proposal to pay your $609,515 upfront. I&apos;ll request
               for a $609,515 withdrawal only. Once I receive it, I&apos;ll send it
               to you in BTC or whatever form is best for you. Once you confirm that
               you have received it, then I&apos;ll request another withdrawal for
               the remainder. This way, you&apos;re paid upfront and I can use one
               wallet address. Let me know if that works for you. Thanks
               2024/05/06 21:31:04 8:live:.cid.a749ebc417855e2c: Hi David
               ,
               Orlando just sent us an email stating that he paid you out of pocket
               with BTC. That&apos;s all he said, with no explanation. We still have
               no idea how this works. Are you available for a call today? Thanks
               2024/05/07 02:37:06 David Sham: Yes I am. I’ll call you today
               2024/05/07 06:53:32 8:live:.cid.a749ebc417855e2c: Great, looking




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 46 of 238 PageID #:
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               forward to it. Do you know around what time?
               2024/05/07 06:53:32 8:live:.cid.a749ebc417855e2c: Great, looking
               forward to it. Do you know around what time?
               2024/05/07 06:59:29 8:live:.cid.a749ebc417855e2c: <partlist
               type="missed" alt="" callId="6105d35a-5322-49e8-8f33-
               b2f05124fd3b"><part identity="live:.cid.a749ebc417855e2c"><name>Peter
               H Harris</name></part><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></part></
               partlist>
               2024/05/07 07:02:52 David Sham: <partlist type="started" alt=""
               callId="5dbc09f6-2f21-47f1-afb8-a67254678feb"><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></
               part><part identity="live:.cid.a749ebc417855e2c"><name>Peter H
               Harris</name></part></partlist>
               2024/05/07 07:11:50 David Sham: <partlist type="ended" alt=""
               callId="5dbc09f6-2f21-47f1-afb8-a67254678feb"><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</
               name><duration>537.965</duration></part><part
               identity="live:.cid.a749ebc417855e2c"><name>Peter H Harris</
               name><duration>537.965</duration></part></partlist>
               2024/05/07 07:16:50 David Sham: When are you able to raise the $200K
               2024/05/07 07:17:12 8:live:.cid.a749ebc417855e2c: Today
               2024/05/07 07:19:05 David Sham: Okay get the Btc and let me know. I’m
               putting the balance together
               2024/05/07 07:20:33 David Sham: Please send my funds back immediately
               you receive withdrawal    and some extra goodies
               2024/05/07 07:21:46 8:live:.cid.a749ebc417855e2c: Ok I&apos;ll make a
               deposit into kraken today. For sure... extra goodies headed your way!
               Loni and I appreciate this very much!
               2024/05/07 07:22:15 David Sham: Okay, keep me posted
               2024/05/07 10:22:34 David Sham: Hello, How’s it going ? I’m sending
               wire to get coin now.
               2024/05/05 20:12:10 David Sham:
               2024/05/07 11:10:04 David Sham: 10% upfront is $609,515. When do you
               intend to make payment <e_m a="live:.cid.50fa342aa3647427"
               ts_ms="1714944878625" ts="1714944878" t="61"></e_m>
               2024/05/05 16:34:38 David Sham: 10% upfront is $609,515. When do you
               intend to make payment <e_m a="live:.cid.50fa342aa3647427"
               ts_ms="1714944878625" ts="1714944878" t="61"></e_m>
               2024/05/07 11:11:20 David Sham: <partlist type="started" alt=""
               callId="74f57034-7239-419d-9c27-985aa08814a6"><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></
               part><part identity="live:.cid.a749ebc417855e2c"><name>Peter H
               Harris</name></part></partlist>
               2024/05/07 11:11:26 David Sham: <partlist type="ended" alt=""
               callId="74f57034-7239-419d-9c27-985aa08814a6"><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</
               name><duration>6.774</duration></part><part
               identity="live:.cid.a749ebc417855e2c"><name>Peter H Harris</
               name><duration>6.774</duration></part></partlist>




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 47 of 238 PageID #:
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               2024/05/07 11:11:43 David Sham: Oh sorry I mistakenly called you
               2024/05/07 11:11:53 8:live:.cid.a749ebc417855e2c: <partlist
               type="missed" alt="" callId="91cf7f0a-4a1c-4d5d-8575-
               ff1d07202f2e"><part identity="live:.cid.a749ebc417855e2c"><name>Peter
               H Harris</name></part><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></part></
               partlist>
               2024/05/07 11:12:30 David Sham: <quote
               author="live:.cid.50fa342aa3647427" authorname="David Sham"
               timestamp="1715095355" conversation="8:live:.cid.a749ebc417855e2c"
               messageid="1715095355118"
               cuid="13215804442220972094"><legacyquote>[1715095355] David Sham: </
               legacyquote>Hello, How’s it going ? I’m sending wire to get coin now.
               <legacyquote>

               &lt;&lt;&lt; </legacyquote></quote>How’s it going ?
               2024/05/07 11:13:28 8:live:.cid.a749ebc417855e2c: I&apos;m getting the
               $200k wire together right now. Then, send to Kraken. I&apos;ll keep
               you posted.
               I need to avoid using Chase Bank.
               2024/05/07 11:26:06 David Sham: Okay keep me posted
               2024/05/07 14:55:30 David Sham: How’s its going ?
               2024/05/07 14:57:30 8:live:.cid.a749ebc417855e2c: Going well.
               I just transferred $205k from Chase into a different bank that I used
               with Kraken. I&apos;m just waiting for it to hit that account and then
               I&apos;ll wire into Kraken. Moving well so far.
               2024/05/07 14:59:55 David Sham: Okay, Lmk
               2024/05/07 18:18:16 8:live:.cid.a749ebc417855e2c: $200k wire scheduled
               for the morning.
               2024/05/08 09:47:40 David Sham: Okay. Keep me posted
               2024/05/08 12:19:57 David Sham: Hello Peter, how are you today ?
               Everything good ?
               2024/05/08 12:22:24 8:live:.cid.a749ebc417855e2c: Hi David,
               All is well. Waiting for the wire to hit Kraken. Should be shortly. As
               soon as it happens, I&apos;ll buy BTC, and then ask you for where to
               send it.
               2024/05/08 12:25:57 David Sham: Okay
               2024/05/08 12:25:57 David Sham: Okay
               2024/05/08 15:47:05 David Sham: How’s it going ?
               2024/05/08 15:47:51 8:live:.cid.a749ebc417855e2c: Just waiting on
               kraken to show the deposit.
               2024/05/08 16:41:59 David Sham: Okay
               2024/05/08 20:04:19 8:live:.cid.a749ebc417855e2c: <URIObject
               uri="https://api.asm.skype.com/v1/objects/0-wus-d7-
               e0f0c1927fc4ceae28440e567d47f355" url_thumbnail="https://
               api.asm.skype.com/v1/objects/0-wus-d7-
               e0f0c1927fc4ceae28440e567d47f355/views/original" type="File.1"
               doc_id="0-wus-d7-e0f0c1927fc4ceae28440e567d47f355">To view this file,
               go to: <a href="https://login.skype.com/login/sso?
               go=webclient.xmm&amp;docid=0-wus-d7-




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 48 of 238 PageID #:
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               e0f0c1927fc4ceae28440e567d47f355">https://login.skype.com/login/sso?
               go=webclient.xmm&amp;docid=0-wus-d7-e0f0c1927fc4ceae28440e567d47f355</
               a><OriginalName v="Screenshot_20240508-180229.png"></
               OriginalName><FileSize v="199658"></FileSize></URIObject>
               2024/05/08 20:04:19 8:live:.cid.a749ebc417855e2c: Hi David,
               Just got this from Kraken. We have to wait 24hrs, see below.
               2024/05/09 01:20:19 David Sham: Okay. I think the daily limit is 100K
               2024/05/09 09:23:54 8:live:.cid.a749ebc417855e2c: You&apos;re right,
               it&apos;ll happen later today. As soon as it&apos;s there, I&apos;ll
               let you know. Thanks for your patience.
               2024/05/09 10:11:05 David Sham: You’re welcome
               2024/05/09 12:44:01 8:live:.cid.a749ebc417855e2c: I reached out. They
               told me that it will go through later today.
               2024/05/09 13:47:08 8:live:.cid.a749ebc417855e2c: Success. Just bought
               $201,990 in BTC.
               Waiting for your instructions next.
               2024/05/09 14:15:06 David Sham: <partlist type="missed" alt=""
               callId="e380ac53-1380-47c7-96b1-ac48c750b178"><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></
               part><part identity="live:.cid.a749ebc417855e2c"><name>Peter H
               Harris</name></part></partlist>
               2024/05/09 14:53:30 8:live:.cid.a749ebc417855e2c: <partlist
               type="started" alt="" callId="11b6cb47-5717-4d84-
               b29f-0a820b3efdf1"><part
               identity="live:.cid.a749ebc417855e2c"><name>Peter H Harris</name></
               part><part identity="live:.cid.50fa342aa3647427"><name>David Sham</
               name></part></partlist>
               2024/05/09 14:54:11 8:live:.cid.a749ebc417855e2c: <partlist
               type="ended" alt="" callId="11b6cb47-5717-4d84-
               b29f-0a820b3efdf1"><part
               identity="live:.cid.a749ebc417855e2c"><name>Peter H Harris</
               name><duration>40.801</duration></part><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</
               name><duration>40.801</duration></part></partlist>
               2024/05/09 15:01:24 8:live:.cid.a749ebc417855e2c: $200K sent
               2024/05/09 15:28:04 8:live:.cid.a749ebc417855e2c: Sounds good
               2024/05/09 18:01:45 8:live:.cid.a749ebc417855e2c: Okay great David,
               keep us posted.
               2024/05/10 12:08:43 8:live:.cid.a749ebc417855e2c: Hi David,
               How&apos;s it going?
               2024/05/10 16:11:50 David Sham: I don’t know what to do
               2024/05/10 16:13:02 David Sham: We currently at $500K
               2024/05/10 16:16:42 8:live:.cid.a749ebc417855e2c: <partlist
               type="missed" alt=""
               callId="e410405e-6a75-4316-9d82-6d3425739ff9"><part
               identity="live:.cid.a749ebc417855e2c"><name>Peter H Harris</name></
               part><part identity="live:.cid.50fa342aa3647427"><name>David Sham</
               name></part></partlist>
               2024/05/10 16:17:16 8:live:.cid.a749ebc417855e2c: Are you available to
               talk David?




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 49 of 238 PageID #:
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               2024/05/10 16:21:14 8:live:.cid.a749ebc417855e2c: If we give your team
               $500k, will they release half? Or even less than half?
               2024/05/10 16:21:56 David Sham: <partlist type="started" alt=""
               callId="44238d58-3160-45ea-b9da-f008ab7d5745"><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></
               part><part identity="live:.cid.a749ebc417855e2c"><name>Peter H
               Harris</name></part></partlist>
               2024/05/10 16:30:24 David Sham: <partlist type="ended" alt=""
               callId="44238d58-3160-45ea-b9da-f008ab7d5745"><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</
               name><duration>507.881</duration></part><part
               identity="live:.cid.a749ebc417855e2c"><name>Peter H Harris</
               name><duration>507.881</duration></part></partlist>
               2024/05/10 18:11:46 8:live:.cid.a749ebc417855e2c: Hi David,
               Loni says that if Orlando will loan us $100k for a day, we&apos;ll pay
               him back $125k.
               2024/05/11 08:34:07 8:live:.cid.a749ebc417855e2c: Hi David, just want
               to confirm that we need $609,515 and not just $600k. See if Orlando
               can do 109,515?
               Thanks for your help.
               2024/05/13 04:00:15 8:live:.cid.a749ebc417855e2c: Hi David,
               Checking in with you to see how it went with Orlando?
               2024/05/13 11:50:55 David Sham: He hasn’t responded to me
               2024/05/13 11:51:40 David Sham: Last time we spoke he mentioned a
               vacation, I don’t know if he left already
               2024/05/13 11:58:05 8:live:.cid.a749ebc417855e2c: <partlist
               type="missed" alt="" callId="7816ef9a-
               f482-4dfe-81f5-8c585494bb1b"><part
               identity="live:.cid.a749ebc417855e2c"><name>Peter H Harris</name></
               part><part identity="live:.cid.50fa342aa3647427"><name>David Sham</
               name></part></partlist>
               2024/05/13 11:58:13 David Sham: Can’t take calls now
               2024/05/13 11:58:21 David Sham: Kindly text me
               2024/05/13 12:00:46 8:live:.cid.a749ebc417855e2c: We are working on
               getting $100k, but it will take a week. Can we still reserve your
               $300k for a week please?
               2024/05/13 12:24:26 David Sham: Yes, I already sent to the team. We
               just need to balance up
               2024/05/13 12:30:46 8:live:.cid.a749ebc417855e2c: Okay great, I&apos;m
               going to find the balance.
               2024/05/14 12:24:33 David Sham: Okay keep me posted
               2024/05/14 12:25:44 8:live:.cid.a749ebc417855e2c: Will do, I&apos;ll
               update you tomorrow morning, hopefully with good news.
               2024/05/15 10:49:32 David Sham: How’s it going ?
               2024/05/15 10:50:54 8:live:.cid.a749ebc417855e2c: I&apos;ll have it by
               the end of the day hopefully, thanks for your patience David.
               2024/05/15 16:18:09 8:live:.cid.a749ebc417855e2c: I should have the
               money by the morning in my bank account. I&apos;ll keep you posted.
               Thanks
               2024/05/16 08:12:39 8:live:.cid.a749ebc417855e2c: Hi David,




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 50 of 238 PageID #:
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               Just waiting for the wire to hit my account. I&apos;ll keep you
               posted. We appreciate your patience.
               2024/05/16 09:33:32 David Sham: Okay, keep posted
               2024/05/16 11:43:28 David Sham: How’s it going?
               2024/05/09 15:50:43 David Sham:
               2024/05/16 11:53:58 David Sham:
               2024/05/16 11:56:44 8:live:.cid.a749ebc417855e2c: Going well.
               Getting the $100k was extremely expensive.
               Once it arrives in my Chase account, I have to transfer it to my other
               bank to wire it to kraken. I&apos;ll keep you posted.
               2024/05/16 11:59:05 David Sham: Okay cool. Lmk
               2024/05/16 16:40:55 8:live:.cid.a749ebc417855e2c: The $100k has
               arrived. It cost me quite a lot.
               I&apos;m wiring it tomorrow from Chase to my other bank so that I can
               wire it to kraken.
               2024/05/17 08:47:10 8:live:.cid.a749ebc417855e2c: Hi David,
               Shall I use the same wallet id you gave me last week?
               2024/05/17 13:23:11 8:live:.cid.a749ebc417855e2c: Wire sent to Kraken!
               2024/05/17 15:51:32 David Sham: Yes
               2024/05/17 15:51:38 David Sham: Use same wallet
               2024/05/17 15:53:55 8:live:.cid.a749ebc417855e2c: Just want to make
               sure: I&apos;m sending $109,415 to the wallet and then one hour later
               the funds will be released?
               2024/05/17 15:56:24 David Sham: Yes correct
               2024/05/17 15:58:05 8:live:.cid.a749ebc417855e2c: Okay as soon as I
               send it, I&apos;ll let you know. Thanks
               2024/05/17 16:53:40 David Sham: Okay keep me posted
               2024/05/17 23:35:44 David Sham: How’s it going ?
               2024/05/17 23:39:30 8:live:.cid.a749ebc417855e2c: Going well. Money
               arrived in kraken. I had to deposit $100k+ for the balance. Kraken has
               a $100k/day limit, so I&apos;m hold until tomorrow until the extra
               clears. Almost there. We appreciate your patience. As soon as it
               clears, I&apos;ll send you a message.
               2024/05/17 23:45:27 David Sham: Okay
               2024/05/18 14:38:40 8:live:.cid.a749ebc417855e2c: Hi David,
               The balance has been sent. $109,415.
               When can we expect release of funds?
               Also, when we reimburse you, do we use the first personal wallet
               address you gave me?
               2024/05/18 18:13:30 8:live:.cid.a749ebc417855e2c: <partlist
               type="missed" alt="" callId="5d6e18c1-7fd6-4841-
               ae11-8959b5e9f14b"><part
               identity="live:.cid.a749ebc417855e2c"><name>Peter H Harris</name></
               part><part identity="live:.cid.50fa342aa3647427"><name>David Sham</
               name></part></partlist>
               2024/05/18 18:13:51 David Sham: Out of office until Monday, cannot
               accept withdrawal request. I thought you wanted to send it Monday
               2024/05/18 18:15:41 8:live:.cid.a749ebc417855e2c: Okay, see you Monday
               David.
               2024/05/16 11:54:06 David Sham:




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 51 of 238 PageID #:
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               2024/05/18 19:31:18 David Sham:
               bc1qz85akfzpt6c08z0zq2md90tpg22xnz55jcdfxp<e_m
               a="live:.cid.50fa342aa3647427" ts_ms="1715281931973" ts="1715281931"
               t="61"></e_m>
               2024/05/09 14:12:11 David Sham:
               bc1qz85akfzpt6c08z0zq2md90tpg22xnz55jcdfxp<e_m
               a="live:.cid.50fa342aa3647427" ts_ms="1715281931973" ts="1715281931"
               t="61"></e_m>
               2024/05/18 19:31:25 David Sham: Send Btc to this wallet address <e_m
               a="live:.cid.50fa342aa3647427" ts_ms="1715281943125" ts="1715281943"
               t="61"></e_m>
               2024/05/09 14:12:23 David Sham: Send Btc to this wallet address <e_m
               a="live:.cid.50fa342aa3647427" ts_ms="1715281943125" ts="1715281943"
               t="61"></e_m>
               2024/05/18 19:31:38 David Sham: Okay<e_m
               a="live:.cid.50fa342aa3647427" ts_ms="1715277144762" ts="1715277144"
               t="61"></e_m>
               2024/05/09 12:52:24 David Sham: Okay<e_m
               a="live:.cid.50fa342aa3647427" ts_ms="1715277144762" ts="1715277144"
               t="61"></e_m>
               2024/05/18 19:31:49 David Sham: Okay I’ll let you once received<e_m
               a="live:.cid.50fa342aa3647427" ts_ms="1715286454284" ts="1715286454"
               t="61"></e_m>
               2024/05/09 15:27:34 David Sham: Okay I’ll let you once received<e_m
               a="live:.cid.50fa342aa3647427" ts_ms="1715286454284" ts="1715286454"
               t="61"></e_m>
               2024/05/18 19:32:05 David Sham: Got it. Right now I only got $200K in
               Btc + the money you sent. Will wire the balance tomorrow to complete
               funds<e_m a="live:.cid.50fa342aa3647427" ts_ms="1715294030420"
               ts="1715294030" t="61"></e_m>
               2024/05/09 17:33:50 David Sham: Got it. Right now I only got $200K in
               Btc + the money you sent. Will wire the balance tomorrow to complete
               funds<e_m a="live:.cid.50fa342aa3647427" ts_ms="1715294030420"
               ts="1715294030" t="61"></e_m>
               2024/05/18 19:32:13 David Sham: I’m fine Peter, I could only get
               another 100K. My funds are fixed right now. I’m sorry. I tried
               speaking to the team to accept the 500K but they want the complete
               10%<e_m a="live:.cid.50fa342aa3647427" ts_ms="1715375493446"
               ts="1715375493" t="61"></e_m>
               2024/05/10 16:11:33 David Sham: I’m fine Peter, I could only get
               another 100K. My funds are fixed right now. I’m sorry. I tried
               speaking to the team to accept the 500K but they want the complete
               10%<e_m a="live:.cid.50fa342aa3647427" ts_ms="1715375493446"
               ts="1715375493" t="61"></e_m>
               2024/05/18 19:32:24 David Sham: Still no word from kraken yet ? Did
               you try to reach out<e_m a="live:.cid.50fa342aa3647427"
               ts_ms="1715276562056" ts="1715276562" t="61"></e_m>
               2024/05/09 12:42:42 David Sham: Still no word from kraken yet ? Did
               you try to reach out<e_m a="live:.cid.50fa342aa3647427"
               ts_ms="1715276562056" ts="1715276562" t="61"></e_m>




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 52 of 238 PageID #:
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               2024/05/20 04:07:37 8:live:.cid.a749ebc417855e2c: Hi David,
               Happy Monday to you.
               Let&apos;s execute the withdrawal now. Thanks
               2024/05/20 04:12:10 8:live:.cid.a749ebc417855e2c: The withdrawal code:
               rlyc6H
               2024/05/20 08:05:58 8:live:.cid.a749ebc417855e2c: <partlist
               type="missed" alt="" callId="c76ed315-253b-4bbd-
               a5b0-81ca6fcb0882"><part
               identity="live:.cid.a749ebc417855e2c"><name>Peter H Harris</name></
               part><part identity="live:.cid.50fa342aa3647427"><name>David Sham</
               name></part></partlist>
               2024/05/20 13:15:14 8:live:.cid.a749ebc417855e2c: <partlist
               type="missed" alt=""
               callId="d99f39cf-7e6f-44de-8e41-47717e6e4bc1"><part
               identity="live:.cid.a749ebc417855e2c"><name>Peter H Harris</name></
               part><part identity="live:.cid.50fa342aa3647427"><name>David Sham</
               name></part></partlist>
               2024/05/20 13:15:58 8:live:.cid.a749ebc417855e2c: Hi David,
               What else do you need from us to release the funds?
               2024/05/20 15:10:13 8:live:.cid.a749ebc417855e2c: <partlist
               type="missed" alt="" callId="fd7dc306-
               ae20-4b90-96ba-5fe29e8b7bf2"><part
               identity="live:.cid.a749ebc417855e2c"><name>Peter H Harris</name></
               part><part identity="live:.cid.50fa342aa3647427"><name>David Sham</
               name></part></partlist>
               2024/05/20 15:13:12 8:live:.cid.a749ebc417855e2c: Hi David,
               Loni is really really stressed out, please contact me as soon as you
               can. Thanks!
               2024/05/20 15:37:40 8:live:.cid.a749ebc417855e2c: Hi David,
               The last $109k is costing me $100/day in interest. Please do whatever
               you can do as soon as possible, much appreciated.
               2024/05/21 07:56:04 8:live:.cid.a749ebc417855e2c: <partlist
               type="missed" alt="" callId="d0113f64-b49a-4761-8fbb-
               f6e7745af4cc"><part identity="live:.cid.a749ebc417855e2c"><name>Peter
               H Harris</name></part><part
               identity="live:.cid.50fa342aa3647427"><name>David Sham</name></part></
               partlist>
               2024/05/21 07:56:46 8:live:.cid.a749ebc417855e2c: Hi David,
               Is everything ok? Are you okay?
               2024/05/22 15:27:35 David Sham: Hello Peter, I lost my Mom. I haven’t
               been myself all week. I’m given your withdrawal code to the team and
               they will approve your withdrawal tomorrow at the office. Sincere
               apologies for the delay
               2024/05/22 15:35:58 8:live:.cid.a749ebc417855e2c: Hi David,
               Oh no, sorry to hear about your Mom. That must be really tough on you.
               We send our condolences to you. We understand the delay now.
               We look forward to our withdrawal and re-investing with you and your
               team.
               What time tomorrow will I get it?
               Thanks




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 53 of 238 PageID #:
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               2024/05/22 15:55:33 8:live:.cid.a749ebc417855e2c: Also David, we want
               to introduce you to other people that are interested in your trading
               expertise.
               2024/05/22 16:42:55 David Sham: In the morning tomorrow
               2024/05/23 10:35:48 8:live:.cid.a749ebc417855e2c: Good morning David,
               Sorry to bother you.
               Just a reminder to have your office approve our withdrawal this
               morning. Thanks!
               2024/05/23 21:08:02 8:live:.cid.a749ebc417855e2c: Hi David,
               Can you tell me what&apos;s taking so long for the release of funds
               please? I appreciate it, thanks.
               2024/05/24 12:52:26 8:live:.cid.a749ebc417855e2c: <partlist
               type="missed" alt=""
               callId="dfe9821f-003c-4b81-8554-2470a1c3c068"><part
               identity="live:.cid.a749ebc417855e2c"><name>Peter H Harris</name></
               part><part identity="live:.cid.50fa342aa3647427"><name>David Sham</
               name></part></partlist>
               2024/05/24 13:08:04 8:live:.cid.a749ebc417855e2c: <partlist
               type="missed" alt=""
               callId="f431270a-7c15-4431-8b7c-19baeaf916ee"><part
               identity="live:.cid.a749ebc417855e2c"><name>Peter H Harris</name></
               part><part identity="live:.cid.50fa342aa3647427"><name>David Sham</
               name></part></partlist>
               2024/05/24 13:09:55 8:live:.cid.a749ebc417855e2c: Hi David,
               I&apos;m concerned I haven&apos;t heard from anyone. We did exactly
               what you told us to do.
               2024/05/27 22:22:36 8:live:.cid.a749ebc417855e2c: Hi David,
               How&apos;s it going?
               We&apos;re getting really nervous now.
               What else do you need from us to release the funds?
               Can you talk in the morning?
               2024/06/02 08:56:06 David Sham: Hello Peter, how are you ? I have been
               devastated since the incident
               2024/06/02 08:57:36 David Sham: So sorry it had to affect my clients
               but it well broke my heart to lose my mom and I have been away from
               work the last week. Fully back to office tomorrow Monday. I’ll approve
               your withdrawal keep you posted
               2024/06/02 10:08:42 8:live:.cid.a749ebc417855e2c: Hi David,
               We&apos;re doing okay, just nervous, but we understand the delay.
               Again, sorry about your loss, I know it&apos;s hard to deal with. We
               look forward to the withdrawal and getting started again.
               2024/06/03 10:12:13 8:live:.cid.a749ebc417855e2c: Hi David,
               Hope you&apos;re having a better day today. What time shall we expect
               the withdrawal release this morning?
               2024/06/03 11:30:49 David Sham: I have approved withdrawal
               2024/06/03 11:31:04 David Sham: You should receive an email from upwin
               shortly
               2024/06/03 11:32:59 8:live:.cid.a749ebc417855e2c: Okay great, waiting




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 54 of 238 PageID #:
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               for the email.
               2024/06/03 11:33:22 David Sham: Check spam also if you don’t receive
               to inbox
               2024/06/03 11:33:28 David Sham: Sometimes it goes to spam
               2024/06/03 11:36:54 8:live:.cid.a749ebc417855e2c: No email received
               yet
               2024/06/03 11:48:29 8:live:.cid.a749ebc417855e2c: Okay, filled out and
               sent back to your tax team. When will the deposit take place?
               2024/06/03 12:49:30 8:live:.cid.a749ebc417855e2c: Hi David, The tax
               form I received says 20% commission, but your team and you said 10% on
               May 5th and May 10th. I changed the tax form to 10% and signed it.
               2024/06/03 12:50:26 8:live:.cid.a749ebc417855e2c: What time today
               shall I expect the $$ into Coinbase?
               2024/06/03 17:18:55 David Sham: <quote
               author="live:.cid.a749ebc417855e2c" authorname="Peter H Harris"
               timestamp="1717436971" conversation="8:live:.cid.a749ebc417855e2c"
               messageid="1717436970645"
               cuid="1521312383874564941"><legacyquote>[1717436971] Peter H Harris:
               </legacyquote>Hi David, The tax form I received says 20% commission,
               but your team and you said 10% on May 5th and May 10th. I changed the
               tax form to 10% and signed it.<legacyquote>

               &lt;&lt;&lt; </legacyquote></quote>North Korea govt tax, you know it’s
               a NK platform. They are the only ones that allow software trading.
               It’s the reason we trade in Dubai because the USA govt doesn’t allow
               software trading, so the softwares do not work in the states
               2024/06/03 17:19:16 David Sham: <quote
               author="live:.cid.a749ebc417855e2c" authorname="Peter H Harris"
               timestamp="1717437027" conversation="8:live:.cid.a749ebc417855e2c"
               messageid="1717437026707"
               cuid="7340937349140960541"><legacyquote>[1717437027] Peter H Harris:
               </legacyquote>What time today shall I expect the $$ into Coinbase?
               <legacyquote>

               &lt;&lt;&lt; </legacyquote></quote>Once they verify tax information
               2024/06/03 17:20:38 David Sham: I don’t work for Upwin, I only trade
               with a software through the Upwin platform, I also trade using other
               platforms too
               2024/06/03 18:29:20 8:live:.cid.a749ebc417855e2c: Hi David,
               I was not aware at any time that Upwintrade is a North Korean
               platform. And you never mentioned anything about taxes to be paid
               upfront to a foreign country. And how is the 20% tax paid? Please help
               me clear this up, thanks.
               2024/06/04 15:49:42 David Sham: Have you received funds to your
               wallet ?
               2024/06/04 17:58:52 8:live:.cid.a749ebc417855e2c: Hi David,
               No, I have not.
               What could be the issue?
               2024/06/05 17:20:10 David Sham: It should already be in your account.
               It’s probably hidden because of the escrow




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 55 of 238 PageID #:
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               2024/06/05 17:20:38 David Sham: Send me a screenshot of your coinbase
               wallet. Let me show you how to find it
               2024/06/05 17:26:24 8:live:.cid.a749ebc417855e2c: <URIObject
               uri="https://api.asm.skype.com/v1/objects/0-wus-d9-
               eed142dd91bdbd408d3a24c2741c432a" url_thumbnail="https://
               api.asm.skype.com/v1/objects/0-wus-d9-
               eed142dd91bdbd408d3a24c2741c432a/views/imgt1_anim" type="Picture.1"
               doc_id="0-wus-d9-eed142dd91bdbd408d3a24c2741c432a"
               width="919.9572192513369" height="2048">To view this shared photo, go
               to: <a href="https://login.skype.com/login/sso?go=xmmfallback?pic=0-
               wus-d9-eed142dd91bdbd408d3a24c2741c432a">https://login.skype.com/
               login/sso?go=xmmfallback?pic=0-wus-d9-
               eed142dd91bdbd408d3a24c2741c432a</a><OriginalName
               v="1717626384690.JPEG"></OriginalName><FileSize v="46558"></
               FileSize><meta type="photo" originalName="1717626384690.JPEG"></
               meta></URIObject>
               2024/06/05 17:26:43 8:live:.cid.a749ebc417855e2c: It&apos;s the ETH
               address
               2024/06/05 17:35:40 8:live:.cid.a749ebc417855e2c: <URIObject
               uri="https://api.asm.skype.com/v1/objects/0-wus-d3-
               ff154fb021671c929d6e8387dfb6ae70" url_thumbnail="https://
               api.asm.skype.com/v1/objects/0-wus-d3-
               ff154fb021671c929d6e8387dfb6ae70/views/imgt1_anim" type="Picture.1"
               doc_id="0-wus-d3-ff154fb021671c929d6e8387dfb6ae70"
               width="919.9572192513369" height="2048">To view this shared photo, go
               to: <a href="https://login.skype.com/login/sso?go=xmmfallback?pic=0-
               wus-d3-ff154fb021671c929d6e8387dfb6ae70">https://login.skype.com/
               login/sso?go=xmmfallback?pic=0-wus-d3-
               ff154fb021671c929d6e8387dfb6ae70</a><OriginalName
               v="1717626940832.JPEG"></OriginalName><FileSize v="51491"></
               FileSize><meta type="photo" originalName="1717626940832.JPEG"></
               meta></URIObject>
               2024/06/05 17:41:30 David Sham: Select settings
               2024/06/05 17:42:13 David Sham: Do you see a search bar there ?
               2024/06/05 17:43:24 David Sham: Search for Hide, then you’ll see hide
               asset
               2024/06/05 17:43:29 David Sham: Send me a screenshot
               2024/06/05 17:44:05 8:live:.cid.a749ebc417855e2c: <URIObject
               uri="https://api.asm.skype.com/v1/objects/0-wus-
               d3-1162963333f43108300a088a1b49ab0a" url_thumbnail="https://
               api.asm.skype.com/v1/objects/0-wus-
               d3-1162963333f43108300a088a1b49ab0a/views/imgt1_anim" type="Picture.1"
               doc_id="0-wus-d3-1162963333f43108300a088a1b49ab0a"
               width="919.9572192513369" height="2048">To view this shared photo, go
               to: <a href="https://login.skype.com/login/sso?go=xmmfallback?pic=0-
               wus-d3-1162963333f43108300a088a1b49ab0a">https://login.skype.com/
               login/sso?go=xmmfallback?pic=0-wus-
               d3-1162963333f43108300a088a1b49ab0a</a><OriginalName
               v="1717627445786.JPEG"></OriginalName><FileSize v="46919"></
               FileSize><meta type="photo" originalName="1717627445786.JPEG"></




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 56 of 238 PageID #:
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               meta></URIObject>
               2024/06/05 17:45:00 8:live:.cid.a749ebc417855e2c: <URIObject
               uri="https://api.asm.skype.com/v1/objects/0-wus-d1-
               cc6a48c429d5d8aeeffe28a6f61dd8a0" url_thumbnail="https://
               api.asm.skype.com/v1/objects/0-wus-d1-
               cc6a48c429d5d8aeeffe28a6f61dd8a0/views/imgt1_anim" type="Picture.1"
               doc_id="0-wus-d1-cc6a48c429d5d8aeeffe28a6f61dd8a0" width="1008"
               height="2244">To view this shared photo, go to: <a href="https://
               login.skype.com/login/sso?go=xmmfallback?pic=0-wus-d1-
               cc6a48c429d5d8aeeffe28a6f61dd8a0">https://login.skype.com/login/sso?
               go=xmmfallback?pic=0-wus-d1-cc6a48c429d5d8aeeffe28a6f61dd8a0</
               a><OriginalName v="b13e5187-bcf7-43df-b39c-6a1663e92ce4.png"></
               OriginalName><FileSize v="150144"></FileSize><meta type="photo"
               originalName="b13e5187-bcf7-43df-b39c-6a1663e92ce4.png"></meta></
               URIObject>
               2024/06/05 17:57:14 8:live:.cid.a749ebc417855e2c: I only see Hide
               Balances
               2024/06/05 17:59:35 David Sham: That’s not what I told you
               2024/06/05 18:00:16 David Sham: <quote
               author="live:.cid.a749ebc417855e2c" authorname="Peter H Harris"
               timestamp="1717626941" conversation="8:live:.cid.a749ebc417855e2c"
               messageid="1717626940682"
               cuid="6389992794829016476"><legacyquote>[1717626941] Peter H Harris:
               </legacyquote><URIObject uri="https://api.asm.skype.com/v1/objects/0-
               wus-d3-ff154fb021671c929d6e8387dfb6ae70" url_thumbnail="https://
               api.asm.skype.com/v1/objects/0-wus-d3-
               ff154fb021671c929d6e8387dfb6ae70/views/imgt1_anim" type="Picture.1"
               doc_id="0-wus-d3-ff154fb021671c929d6e8387dfb6ae70"
               width="919.9572192513369" height="2048">To view this shared photo, go
               to: <a href="https://login.skype.com/login/sso?go=xmmfallback?pic=0-
               wus-d3-ff154fb021671c929d6e8387dfb6ae70">https://login.skype.com/
               login/sso?go=xmmfallback?pic=0-wus-d3-
               ff154fb021671c929d6e8387dfb6ae70</a><OriginalName
               v="1717626940832.JPEG"></OriginalName><FileSize v="51491"></
               FileSize><meta type="photo" originalName="1717626940832.JPEG"></
               meta></URIObject><legacyquote>

               &lt;&lt;&lt; </legacyquote></quote>Select settings here
               2024/06/05 18:01:07 David Sham: You’ll see a search bar once you
               select settings
               2024/06/05 18:01:41 David Sham: Search hide and send a screenshot of
               the two options you see when you search hide
               2024/06/05 18:03:37 David Sham: Are you there ?
               2024/06/05 18:03:45 8:live:.cid.a749ebc417855e2c: Yes, I&apos;m here
               2024/06/05 18:04:49 8:live:.cid.a749ebc417855e2c: <URIObject
               uri="https://api.asm.skype.com/v1/objects/0-wus-
               d4-4f53471d9d150809de6a61f5f5a52c5e" url_thumbnail="https://
               api.asm.skype.com/v1/objects/0-wus-
               d4-4f53471d9d150809de6a61f5f5a52c5e/views/imgt1_anim" type="Picture.1"
               doc_id="0-wus-d4-4f53471d9d150809de6a61f5f5a52c5e" width="1008"




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 57 of 238 PageID #:
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               height="2244">To view this shared photo, go to: <a href="https://
               login.skype.com/login/sso?go=xmmfallback?pic=0-wus-
               d4-4f53471d9d150809de6a61f5f5a52c5e">https://login.skype.com/login/
               sso?go=xmmfallback?pic=0-wus-d4-4f53471d9d150809de6a61f5f5a52c5e</
               a><OriginalName v="f9063e57-59b2-4993-9525-1eed631012be.png"></
               OriginalName><FileSize v="175334"></FileSize><meta type="photo"
               originalName="f9063e57-59b2-4993-9525-1eed631012be.png"></meta></
               URIObject>
               2024/06/05 18:04:49 8:live:.cid.a749ebc417855e2c: I&apos;m looking.
               This is the only search bar I have.
               2024/06/05 18:07:35 8:live:.cid.a749ebc417855e2c: <URIObject
               uri="https://api.asm.skype.com/v1/objects/0-wus-
               d2-68bc1d8b024f0bc7a2304e67e6047289" url_thumbnail="https://
               api.asm.skype.com/v1/objects/0-wus-
               d2-68bc1d8b024f0bc7a2304e67e6047289/views/imgt1_anim" type="Picture.1"
               doc_id="0-wus-d2-68bc1d8b024f0bc7a2304e67e6047289" width="1008"
               height="2244">To view this shared photo, go to: <a href="https://
               login.skype.com/login/sso?go=xmmfallback?pic=0-wus-
               d2-68bc1d8b024f0bc7a2304e67e6047289">https://login.skype.com/login/
               sso?go=xmmfallback?pic=0-wus-d2-68bc1d8b024f0bc7a2304e67e6047289</
               a><OriginalName v="f14d7b6d-77ba-4753-b6b1-359bee4c71ea.png"></
               OriginalName><FileSize v="201881"></FileSize><meta type="photo"
               originalName="f14d7b6d-77ba-4753-b6b1-359bee4c71ea.png"></meta></
               URIObject>
               2024/06/05 18:09:42 David Sham: This isn’t coinbase wallet
               2024/06/05 18:09:52 David Sham: <quote
               author="live:.cid.a749ebc417855e2c" authorname="Peter H Harris"
               timestamp="1717626941" conversation="8:live:.cid.a749ebc417855e2c"
               messageid="1717626940682"
               cuid="6389992794829016476"><legacyquote>[1717626941] Peter H Harris:
               </legacyquote><URIObject uri="https://api.asm.skype.com/v1/objects/0-
               wus-d3-ff154fb021671c929d6e8387dfb6ae70" url_thumbnail="https://
               api.asm.skype.com/v1/objects/0-wus-d3-
               ff154fb021671c929d6e8387dfb6ae70/views/imgt1_anim" type="Picture.1"
               doc_id="0-wus-d3-ff154fb021671c929d6e8387dfb6ae70"
               width="919.9572192513369" height="2048">To view this shared photo, go
               to: <a href="https://login.skype.com/login/sso?go=xmmfallback?pic=0-
               wus-d3-ff154fb021671c929d6e8387dfb6ae70">https://login.skype.com/
               login/sso?go=xmmfallback?pic=0-wus-d3-
               ff154fb021671c929d6e8387dfb6ae70</a><OriginalName
               v="1717626940832.JPEG"></OriginalName><FileSize v="51491"></
               FileSize><meta type="photo" originalName="1717626940832.JPEG"></
               meta></URIObject><legacyquote>

               &lt;&lt;&lt; </legacyquote></quote>This is the correct one
               2024/06/05 18:11:10 David Sham: You searching on the wrong place
               2024/06/05 18:11:24 David Sham: What wallet did you submit to upwin ?
               2024/06/05 18:12:39 David Sham: Are you there
               2024/06/05 18:13:06 David Sham: Do you understand me ?
               2024/06/05 18:13:10 8:live:.cid.a749ebc417855e2c: I used the one I




                                                                                             HAR0067
     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 58 of 238 PageID #:
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               sent you, coinbase
               2024/06/05 18:15:42 David Sham: <URIObject uri="https://
               api.asm.skype.com/v1/objects/0-weu-
               d11-43447a34a2877d8d97fb3f57f8ff75d7" url_thumbnail="https://
               api.asm.skype.com/v1/objects/0-weu-
               d11-43447a34a2877d8d97fb3f57f8ff75d7/views/imgt1_anim"
               type="Picture.1" doc_id="0-weu-d11-43447a34a2877d8d97fb3f57f8ff75d7"
               width="1174.1866666666667" height="2048">To view this shared photo, go
               to: <a href="https://login.skype.com/login/sso?go=xmmfallback?pic=0-
               weu-d11-43447a34a2877d8d97fb3f57f8ff75d7">https://login.skype.com/
               login/sso?go=xmmfallback?pic=0-weu-
               d11-43447a34a2877d8d97fb3f57f8ff75d7</a><OriginalName
               v="4C6D3621-7C1E-4BDC-974B-F2CF491E1EA5.jpg"></OriginalName><FileSize
               v="187482"></FileSize><meta type="photo"
               originalName="4C6D3621-7C1E-4BDC-974B-F2CF491E1EA5.jpg"></meta></
               URIObject>
               2024/06/05 18:15:53 David Sham: This the one you ought to use
               2024/06/05 18:16:04 David Sham: That’s the settings I’m telling to you
               open
               2024/06/05 18:16:35 David Sham: I also advised you to use this one
               because it’s the software trading withdrawal approved wallet
               2024/06/05 18:17:36 David Sham: <quote
               author="live:.cid.50fa342aa3647427" authorname="David Sham"
               timestamp="1717629351" conversation="8:live:.cid.a749ebc417855e2c"
               messageid="1717629351144"
               cuid="15911691020203461578"><legacyquote>[1717629351] David Sham: </
               legacyquote><URIObject uri="https://api.asm.skype.com/v1/objects/0-
               weu-d11-43447a34a2877d8d97fb3f57f8ff75d7" url_thumbnail="https://
               api.asm.skype.com/v1/objects/0-weu-
               d11-43447a34a2877d8d97fb3f57f8ff75d7/views/imgt1_anim"
               type="Picture.1" doc_id="0-weu-d11-43447a34a2877d8d97fb3f57f8ff75d7"
               width="1174.1866666666667" height="2048">To view this shared photo, go
               to: <a href="https://login.skype.com/login/sso?go=xmmfallback?pic=0-
               weu-d11-43447a34a2877d8d97fb3f57f8ff75d7">https://login.skype.com/
               login/sso?go=xmmfallback?pic=0-weu-
               d11-43447a34a2877d8d97fb3f57f8ff75d7</a><OriginalName
               v="4C6D3621-7C1E-4BDC-974B-F2CF491E1EA5.jpg"></OriginalName><FileSize
               v="187482"></FileSize><meta type="photo"
               originalName="4C6D3621-7C1E-4BDC-974B-F2CF491E1EA5.jpg"></meta></
               URIObject><legacyquote>

               &lt;&lt;&lt; </legacyquote></quote>Can you see the where I circled
               red. That’s the settings I’m talking to you about
               2024/06/05 18:17:58 8:live:.cid.a749ebc417855e2c: Yes, I used that one
               2024/06/05 18:18:21 David Sham: Okay select on there
               2024/06/05 18:18:35 David Sham: Send a screenshot after you select
               settings
               2024/06/05 18:21:59 8:live:.cid.a749ebc417855e2c: <URIObject
               uri="https://api.asm.skype.com/v1/objects/0-wus-d7-
               f860686eb63840275f70bcab645d0470" url_thumbnail="https://




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 59 of 238 PageID #:
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               api.asm.skype.com/v1/objects/0-wus-d7-
               f860686eb63840275f70bcab645d0470/views/imgt1_anim" type="Picture.1"
               doc_id="0-wus-d7-f860686eb63840275f70bcab645d0470" width="1008"
               height="2244">To view this shared photo, go to: <a href="https://
               login.skype.com/login/sso?go=xmmfallback?pic=0-wus-d7-
               f860686eb63840275f70bcab645d0470">https://login.skype.com/login/sso?
               go=xmmfallback?pic=0-wus-d7-f860686eb63840275f70bcab645d0470</
               a><OriginalName v="4d6ae420-cb1b-41b1-82d8-ed60d2bba1d7.png"></
               OriginalName><FileSize v="189196"></FileSize><meta type="photo"
               originalName="4d6ae420-cb1b-41b1-82d8-ed60d2bba1d7.png"></meta></
               URIObject>
               2024/06/05 18:22:12 David Sham: Search “hide”
               2024/06/05 18:22:19 David Sham: Send me a screenshot
               2024/06/05 18:22:52 8:live:.cid.a749ebc417855e2c: <URIObject
               uri="https://api.asm.skype.com/v1/objects/0-wus-d10-
               a8e56c225c1a7ab997d0edbed220c804" url_thumbnail="https://
               api.asm.skype.com/v1/objects/0-wus-d10-
               a8e56c225c1a7ab997d0edbed220c804/views/imgt1_anim" type="Picture.1"
               doc_id="0-wus-d10-a8e56c225c1a7ab997d0edbed220c804"
               width="919.9572192513369" height="2048">To view this shared photo, go
               to: <a href="https://login.skype.com/login/sso?go=xmmfallback?pic=0-
               wus-d10-a8e56c225c1a7ab997d0edbed220c804">https://login.skype.com/
               login/sso?go=xmmfallback?pic=0-wus-d10-
               a8e56c225c1a7ab997d0edbed220c804</a><OriginalName
               v="1717629772362.JPEG"></OriginalName><FileSize v="38372"></
               FileSize><meta type="photo" originalName="1717629772362.JPEG"></
               meta></URIObject>
               2024/06/05 18:23:07 David Sham: Select hide assets
               2024/06/05 18:23:22 David Sham: Send a screenshot
               2024/06/05 18:23:38 8:live:.cid.a749ebc417855e2c: <URIObject
               uri="https://api.asm.skype.com/v1/objects/0-wus-
               d9-6037d7c60ca4f5207522b48c1be0afc5" url_thumbnail="https://
               api.asm.skype.com/v1/objects/0-wus-
               d9-6037d7c60ca4f5207522b48c1be0afc5/views/imgt1_anim" type="Picture.1"
               doc_id="0-wus-d9-6037d7c60ca4f5207522b48c1be0afc5"
               width="919.9572192513369" height="2048">To view this shared photo, go
               to: <a href="https://login.skype.com/login/sso?go=xmmfallback?pic=0-
               wus-d9-6037d7c60ca4f5207522b48c1be0afc5">https://login.skype.com/
               login/sso?go=xmmfallback?pic=0-wus-
               d9-6037d7c60ca4f5207522b48c1be0afc5</a><OriginalName
               v="1717629819034.JPEG"></OriginalName><FileSize v="29967"></
               FileSize><meta type="photo" originalName="1717629819034.JPEG"></
               meta></URIObject>
               2024/06/05 18:24:04 David Sham: See funds in usdt
               2024/06/05 18:24:10 David Sham: Select the eye
               2024/06/05 18:24:33 David Sham: Send me a screenshot
               2024/06/05 18:24:58 8:live:.cid.a749ebc417855e2c: <URIObject
               uri="https://api.asm.skype.com/v1/objects/0-wus-d10-
               b61d18d1c0703c4b7d74b196e512f8ca" url_thumbnail="https://
               api.asm.skype.com/v1/objects/0-wus-d10-




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 60 of 238 PageID #:
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               b61d18d1c0703c4b7d74b196e512f8ca/views/imgt1_anim" type="Picture.1"
               doc_id="0-wus-d10-b61d18d1c0703c4b7d74b196e512f8ca"
               width="919.9572192513369" height="2048">To view this shared photo, go
               to: <a href="https://login.skype.com/login/sso?go=xmmfallback?pic=0-
               wus-d10-b61d18d1c0703c4b7d74b196e512f8ca">https://login.skype.com/
               login/sso?go=xmmfallback?pic=0-wus-d10-
               b61d18d1c0703c4b7d74b196e512f8ca</a><OriginalName
               v="1717629899033.JPEG"></OriginalName><FileSize v="29440"></
               FileSize><meta type="photo" originalName="1717629899033.JPEG"></
               meta></URIObject>
               2024/06/05 18:25:21 David Sham: Go back to assets
               2024/06/05 18:25:25 David Sham: Send me screenshot
               2024/06/05 18:26:00 8:live:.cid.a749ebc417855e2c: <URIObject
               uri="https://api.asm.skype.com/v1/objects/0-wus-d7-
               e3ff336bcc0220c9f578d3c6239d0adb" url_thumbnail="https://
               api.asm.skype.com/v1/objects/0-wus-d7-
               e3ff336bcc0220c9f578d3c6239d0adb/views/imgt1_anim" type="Picture.1"
               doc_id="0-wus-d7-e3ff336bcc0220c9f578d3c6239d0adb"
               width="919.9572192513369" height="2048">To view this shared photo, go
               to: <a href="https://login.skype.com/login/sso?go=xmmfallback?pic=0-
               wus-d7-e3ff336bcc0220c9f578d3c6239d0adb">https://login.skype.com/
               login/sso?go=xmmfallback?pic=0-wus-d7-
               e3ff336bcc0220c9f578d3c6239d0adb</a><OriginalName
               v="1717629961378.JPEG"></OriginalName><FileSize v="29440"></
               FileSize><meta type="photo" originalName="1717629961378.JPEG"></
               meta></URIObject>
               2024/06/05 18:26:43 8:live:.cid.a749ebc417855e2c: <URIObject
               uri="https://api.asm.skype.com/v1/objects/0-wus-d5-
               a755889715c921d80c434afc65ca7b98" url_thumbnail="https://
               api.asm.skype.com/v1/objects/0-wus-d5-
               a755889715c921d80c434afc65ca7b98/views/imgt1_anim" type="Picture.1"
               doc_id="0-wus-d5-a755889715c921d80c434afc65ca7b98" width="1008"
               height="2244">To view this shared photo, go to: <a href="https://
               login.skype.com/login/sso?go=xmmfallback?pic=0-wus-d5-
               a755889715c921d80c434afc65ca7b98">https://login.skype.com/login/sso?
               go=xmmfallback?pic=0-wus-d5-a755889715c921d80c434afc65ca7b98</
               a><OriginalName v="a9bed978-53fa-4f41-9e4e-f431b4145703.png"></
               OriginalName><FileSize v="159351"></FileSize><meta type="photo"
               originalName="a9bed978-53fa-4f41-9e4e-f431b4145703.png"></meta></
               URIObject>
               2024/06/05 18:26:53 David Sham: Go back to the “asset” menu
               2024/06/05 18:27:00 David Sham: And send me a screenshot
               2024/06/05 18:27:29 8:live:.cid.a749ebc417855e2c: <URIObject
               uri="https://api.asm.skype.com/v1/objects/0-wus-d8-
               c41ed0bdd1860babad08a136e71bcf31" url_thumbnail="https://
               api.asm.skype.com/v1/objects/0-wus-d8-
               c41ed0bdd1860babad08a136e71bcf31/views/imgt1_anim" type="Picture.1"
               doc_id="0-wus-d8-c41ed0bdd1860babad08a136e71bcf31" width="1008"
               height="2244">To view this shared photo, go to: <a href="https://
               login.skype.com/login/sso?go=xmmfallback?pic=0-wus-d8-




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 61 of 238 PageID #:
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               c41ed0bdd1860babad08a136e71bcf31">https://login.skype.com/login/sso?
               go=xmmfallback?pic=0-wus-d8-c41ed0bdd1860babad08a136e71bcf31</
               a><OriginalName v="952bb940-4d95-461e-92d2-2a50744eec22.png"></
               OriginalName><FileSize v="213396"></FileSize><meta type="photo"
               originalName="952bb940-4d95-461e-92d2-2a50744eec22.png"></meta></
               URIObject>
               2024/06/05 18:28:08 David Sham: You didn’t need to open the Toshi
               token
               2024/06/05 18:28:12 David Sham: It’s worthless
               2024/06/05 18:28:49 David Sham: You can turn of the visibility of that
               one, just by tapping the eyes off
               2024/06/05 18:29:56 8:live:.cid.a749ebc417855e2c: <URIObject
               uri="https://api.asm.skype.com/v1/objects/0-wus-
               d10-47c95bdf8d9d233370f9998c7c5263f6" url_thumbnail="https://
               api.asm.skype.com/v1/objects/0-wus-
               d10-47c95bdf8d9d233370f9998c7c5263f6/views/imgt1_anim"
               type="Picture.1" doc_id="0-wus-d10-47c95bdf8d9d233370f9998c7c5263f6"
               width="1008" height="2244">To view this shared photo, go to: <a
               href="https://login.skype.com/login/sso?go=xmmfallback?pic=0-wus-
               d10-47c95bdf8d9d233370f9998c7c5263f6">https://login.skype.com/login/
               sso?go=xmmfallback?pic=0-wus-d10-47c95bdf8d9d233370f9998c7c5263f6</
               a><OriginalName v="c98fd6bb-b988-4651-98e8-975016834245.png"></
               OriginalName><FileSize v="163152"></FileSize><meta type="photo"
               originalName="c98fd6bb-b988-4651-98e8-975016834245.png"></meta></
               URIObject>
               2024/06/05 18:30:41 David Sham: You see funds is in your Wallet, but
               you cannot spend the funds yet, until you settle the North Korea tax
               2024/06/05 18:31:21 David Sham: You know they are not in good terms
               with the US govt. so they are strict on the tax <e_m
               a="live:.cid.50fa342aa3647427" ts_ms="1717630267441" ts="1717630267"
               t="61"></e_m>
               2024/06/05 18:31:07 David Sham: You know they are not in good terms
               with the US govt. so they are strict on the tax <e_m
               a="live:.cid.50fa342aa3647427" ts_ms="1717630267441" ts="1717630267"
               t="61"></e_m>
               2024/06/05 18:31:53 8:live:.cid.a749ebc417855e2c: How do I get the tax
               payment to them?
               2024/06/05 18:32:10 8:live:.cid.a749ebc417855e2c: They haven&apos;t
               answered
               2024/06/05 18:32:48 David Sham: They charge 20% of the money made
               2024/06/05 18:34:55 David Sham: The tax is paid out of pocket before
               they let you access the funds
               2024/06/05 18:35:18 David Sham: Funds is already in your possession,
               you just need to clear with them




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     Case 1:24-cv-00313-MJT                          Document 15-2 Filed 09/04/24          Page 62 of 238 PageID #:
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      Attachment B - Shamlian Website Capture
     Table of contents:

      #    URL                                                            Timestamp

      1    https://davidshamlian.com/contact/                             Sun Jun 09 2024 06:24:42 GMT-0500 (Central Daylight Time)


      2    https://davidshamlian.com/services/#                           Sun Jun 09 2024 06:24:21 GMT-0500 (Central Daylight Time)


      3    https://davidshamlian.com/                                     Sun Jun 09 2024 06:23:23 GMT-0500 (Central Daylight Time)


      4    https://davidshamlian.com/about/                               Sun Jun 09 2024 06:23:52 GMT-0500 (Central Daylight
                                                                          Time)




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 63 of 238 PageID #:
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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 64 of 238 PageID #:
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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 65 of 238 PageID #:
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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 66 of 238 PageID #:
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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 67 of 238 PageID #:
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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 68 of 238 PageID #:
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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 69 of 238 PageID #:
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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 70 of 238 PageID #:
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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 71 of 238 PageID #:
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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 72 of 238 PageID #:
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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 73 of 238 PageID #:
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Page 74 of 238 PageID #:




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                                                                                                    Attachment C - Harris-Upwintrade Transaction History
                                        Date                Payor          Payee        Currrency   Initiating Platform   Crypto Amount       USD Amount      Transaction Hash                    Receiving Address
                                                                                                                                                              be62b42756dcd6ecaa99e718ac09d2a0c bc1q8vx5dd64ek7j3kxxteh4vmj
                                            2/28/24 15:52 Peter Harris     Upwintrade   BTC         Crypto.com                 -0.16122203          $9,695.98 59e49dc52d788bcfdd307c926738908c    506359lqpgv2mfc
                                                                                                                                                              2ba5f9db6795dd20dee17d68bc97f2607c bc1q8vx5dd64ek7j3kxxteh4vmj
                                            2/29/24 19:03 Peter Harris     Upwintrade   BTC         Crypto.com                   -0.1620062         $9,682.83 9cd845fabde3a44a734575b66b04e2      506359lqpgv2mfc
                                                                                                                                                              52c845dfa11b8f610ad6f2df07e489a214e bc1q8vx5dd64ek7j3kxxteh4vmj
                                                3/1/24 4:53 Peter Harris   Upwintrade   BTC         Crypto.com                 -0.40345656         $24,569.00 a22a8b4e0714104a55dcb4104e6ac       506359lqpgv2mfc
                                                                                                                                                              321c7337dd9552bb463342aa1e1401ff10f bc1q8vx5dd64ek7j3kxxteh4vmj
                                               3/1/24 15:03 Peter Harris   Upwintrade   BTC         Crypto.com                          -0.35      $21,376.15 80a744b9d047dc8fbb276ef1a2965       506359lqpgv2mfc
                                                                                                                                                              2a31c1c4c9dd97f35ff93ddf4d8779b33b4 bc1q8vx5dd64ek7j3kxxteh4vmj
                                               3/4/24 13:42 Peter Harris   Upwintrade   BTC         Crypto.com                           -0.5      $32,275.24 5886e73716e6a3e93013f33db1aae       506359lqpgv2mfc
                                                                                                                                                              fc386d216317455a047b0674271a1b7624 bc1q8vx5dd64ek7j3kxxteh4vmj
Document 15-2 Filed 09/04/24




                                               3/5/24 15:00 Peter Harris   Upwintrade   BTC         Crypto.com                   -0.2862788        $19,388.49 6236691e3e153b7b320f80f3c7fbf7      506359lqpgv2mfc
                                                                                                                                                              488e9f92ad81a317d0dcf8c79bebef2c6d9 bc1q8vx5dd64ek7j3kxxteh4vmj
                                                3/8/24 1:13 Peter Harris   Upwintrade   BTC         Crypto.com                 -0.39138298         $26,022.71 120985e14b238697b1634f985d8fd       506359lqpgv2mfc
                                                                                                                                                              8e781e0ed30862b5e4cd41d781bff60e60 bc1q8vx5dd64ek7j3kxxteh4vmj
                                               3/11/24 6:06 Peter Harris   Upwintrade   BTC         Crypto.com                        -0.375       $25,510.77 0714839887aaf566802d2797ba9378      506359lqpgv2mfc
                                                                                                                                                              d85e9c1a5ab4d3af9c9687bd06c5ad1770 bc1q8vx5dd64ek7j3kxxteh4vmj
                                               3/21/24 1:59 Peter Harris   Upwintrade   BTC         Crypto.com                          -0.25      $16,726.08 aa30e659c5257d58d8ea24ef6744f7      506359lqpgv2mfc
            677




                                                                                                                                                              9046e42389a6d32dd40bbf6b6765aa41a3 bc1q8vx5dd64ek7j3kxxteh4vmj
                                               3/25/24 1:06 Peter Harris   Upwintrade   BTC         Crypto.com                 -0.10413079          $6,900.04 6baa9112218137fc881035274f261c      506359lqpgv2mfc
                                                                                                                                                              3605fd078039d68d33a3d477ea259ddf12 bc1q8vx5dd64ek7j3kxxteh4vmj
                                               3/28/24 2:14 Peter Harris   Upwintrade   BTC         Crypto.com                   -0.0771007         $5,317.56 8055ea840f75fc788dad33cd0594e3      506359lqpgv2mfc
                                                                                                                                                              0130c5a3ba439900ca8a09e5bf106cdd1d bc1q8vx5dd64ek7j3kxxteh4vmj
                                            3/30/24 16:28 Peter Harris     Upwintrade   BTC         Kraken                     -0.28207876         $19,642.25 d9b948f6a318375384635c1cb159d3      506359lqpgv2mfc
                                                                                                                                                              4a587c8d73f01a13ea2e418d4a9966872c bc1q8vx5dd64ek7j3kxxteh4vmj
                                            4/10/24 17:37 Peter Harris     Upwintrade   BTC         Kraken                           -0.2822       $19,929.04 31c5727bc9a725143cf5d62248094c      506359lqpgv2mfc
                                                                                                                                                              b1a1d243d1ce5787f12c708ebc386ab9dc bc1q8vx5dd64ek7j3kxxteh4vmj
                                            4/11/24 13:06 Peter Harris     Upwintrade   BTC         Kraken                           -0.0686        $4,803.49 649b277bb59479cefc011f33f015df      506359lqpgv2mfc
                                                                                                                                                              755a3caf7f6eb2f6c3daca3c4032b05e7d5 bc1qvtk2a2yk3k42tndpeyctzesa
                                            4/25/24 21:07 Peter Harris     Upwintrade   BTC         Kraken                     -1.51733571         $97,854.51 59029afd51f733d13b50ff6d2ae42       whmtr4upn52f38
Case 1:24-cv-00313-MJT




                                                                                                                                                              77472d09dd2c613e9287bc29f82bfaaf499 bc1qvtk2a2yk3k42tndpeyctzesa
                                            4/26/24 22:10 Peter Harris     Upwintrade   BTC         Kraken                     -0.04533509          $2,890.22 874b755a4cbb053d10a019b081956       whmtr4upn52f38
                                                                                                                                                              85f705919888925024508506350765e483 bc1q25a5zpcn6957scm3st33zc
                                               5/9/24 20:01 Peter Harris   Upwintrade   BTC         Kraken                     -3.21072269        $202,490.49 022d8c3289314ddcdaf5ef49522d63      jeucaqlydlghkeuv
                                                                                                                                                              d0070ae24bf4cfb8b9740477e65bddc4a7 bc1q25a5zpcn6957scm3st33zc
                                            5/18/24 19:36 Peter Harris     Upwintrade   BTC         Kraken                     -1.63651102        $109,534.99 6624a9ba0bd379423ecf2f26f4c871      jeucaqlydlghkeuv
     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24         Page 75 of 238 PageID #:
                                                            678
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     Case 1:24-cv-00313-MJT                         Document 15-2 Filed 09/04/24           Page 76 of 238 PageID #:
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     Table of contents:

      #     URL                                                          Timestamp

      1     https://upwintrade.com/index.php/user/fundAccount            Sun Jun 09 2024 10:42:42 GMT-0500 (Central Daylight Time)


      2     https://upwintrade.com/index.php/home/execution_policy       Sun Jun 09 2024 06:18:29 GMT-0500 (Central Daylight Time)


      3     https://upwintrade.com/index.php/home/execution_policy       Sun Jun 09 2024 06:17:31 GMT-0500 (Central Daylight Time)


      4     https://upwintrade.com/index.php/home/trading_central        Sun Jun 09 2024 06:17:02 GMT-0500 (Central Daylight Time)


      5     https://upwintrade.com/index.php/home/client_services        Sun Jun 09 2024 06:15:31 GMT-0500 (Central Daylight Time)


      6     https://upwintrade.com/index.php/home/deposit_withdrawals    Sun Jun 09 2024 06:16:11 GMT-0500 (Central Daylight Time)


      7     https://upwintrade.com/index.php/home/leverage_policy        Sun Jun 09 2024 06:16:37 GMT-0500 (Central Daylight Time)


      8     https://upwintrade.com/index.php/home/partners               Sun Jun 09 2024 06:15:00 GMT-0500 (Central Daylight Time)


      9     https://upwintrade.com/index.php/home/crypto                 Sun Jun 09 2024 06:14:11 GMT-0500 (Central Daylight Time)


      10    https://upwintrade.com/index.php/home/contact_us             Sun Jun 09 2024 06:13:42 GMT-0500 (Central Daylight Time)


      11    https://upwintrade.com/index.php/auth/signup                 Sun Jun 09 2024 06:12:10 GMT-0500 (Central Daylight Time)


      12    https://upwintrade.com/index.php/home/why_us                 Sun Jun 09 2024 06:12:39 GMT-0500 (Central Daylight Time)


      13    https://upwintrade.com/index.php/home/funds_safety           Sun Jun 09 2024 06:13:12 GMT-0500 (Central Daylight Time)


      14    https://upwintrade.com/index.php/home/why_us                 Sun Jun 09 2024 06:11:43 GMT-0500 (Central Daylight Time)


      15    https://upwintrade.com/index.php                             Sun Jun 09 2024 06:11:09 GMT-0500 (Central Daylight Time)


      16    https://upwintrade.com/index.php/user/userProfile            Sun Jun 09 2024 06:10:00 GMT-0500 (Central Daylight Time)


      17    https://upwintrade.com/index.php/user/fundAccount            Sun Jun 09 2024 06:08:31 GMT-0500 (Central Daylight Time)


      18    https://upwintrade.com/index.php/user/withdrawFund           Sun Jun 09 2024 06:09:06 GMT-0500 (Central Daylight
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      19    https://upwintrade.com/index.php/user/tradePlans             Sun Jun 09 2024 06:09:33 GMT-0500 (Central Daylight
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      20    https://upwintrade.com/index.php/user/withdrawalHistory      Sun Jun 09 2024 06:07:43 GMT-0500 (Central Daylight Time)


      21    https://upwintrade.com/index.php/user/depositHistory         Sun Jun 09 2024 06:07:07 GMT-0500 (Central Daylight Time)


      22    https://upwintrade.com/index.php/user/tradeEarning           Sun Jun 09 2024 06:05:43 GMT-0500 (Central Daylight
                                                                         Time)


      23    https://upwintrade.com/index.php/user/tradeCFD               Sun Jun 09 2024 06:03:47 GMT-0500 (Central Daylight Time)


      24    https://upwintrade.com/index.php/user/tradeStocks            Sun Jun 09 2024 06:04:08 GMT-0500 (Central Daylight
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      25    https://upwintrade.com/index.php/user/tradeHistory           Sun Jun 09 2024 06:05:05 GMT-0500 (Central Daylight
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     Case 1:24-cv-00313-MJT                         Document 15-2 Filed 09/04/24          Page 77 of 238 PageID #:
                                                                680
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      26    https://upwintrade.com/index.php/user/tradeCrypto            Sun Jun 09 2024 06:03:25 GMT-0500 (Central Daylight
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      27    https://upwintrade.com/index.php/user                        Sun Jun 09 2024 06:02:37 GMT-0500 (Central Daylight Time)




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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 78 of 238 PageID #:
                                                            681
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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 79 of 238 PageID #:
                                                            682
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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 80 of 238 PageID #:
                                                            683
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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 81 of 238 PageID #:
                                                            684
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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 82 of 238 PageID #:
                                                            685
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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 83 of 238 PageID #:
                                                            686
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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 84 of 238 PageID #:
                                                            687
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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 85 of 238 PageID #:
                                                            688
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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 86 of 238 PageID #:
                                                            689
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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 87 of 238 PageID #:
                                                            690
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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 88 of 238 PageID #:
                                                            691
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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 89 of 238 PageID #:
                                                            692
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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 90 of 238 PageID #:
                                                            693
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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 91 of 238 PageID #:
                                                            694
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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 92 of 238 PageID #:
                                                            695
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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 93 of 238 PageID #:
                                                            696
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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 94 of 238 PageID #:
                                                            697
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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 95 of 238 PageID #:
                                                            698
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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 96 of 238 PageID #:
                                                            699
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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 97 of 238 PageID #:
                                                            700
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     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 98 of 238 PageID #:
                                                            701
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                                                                                             HAR0108
     Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 99 of 238 PageID #:
                                                            702
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 100 of 238 PageID #:
                                                            703
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 101 of 238 PageID #:
                                                            704
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                                                                                            HAR0111
    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 102 of 238 PageID #:
                                                            705
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 103 of 238 PageID #:
                                                            706
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 104 of 238 PageID #:
                                                            707
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 105 of 238 PageID #:
                                                            708
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 106 of 238 PageID #:
                                                            709
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 107 of 238 PageID #:
                                                            710
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 108 of 238 PageID #:
                                                            711
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 109 of 238 PageID #:
                                                            712
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 110 of 238 PageID #:
                                                            713
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 111 of 238 PageID #:
                                                            714
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 112 of 238 PageID #:
                                                            715
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 113 of 238 PageID #:
                                                            716
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 114 of 238 PageID #:
                                                            717
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 115 of 238 PageID #:
                                                            718
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 116 of 238 PageID #:
                                                            719
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                                                                                            HAR0126
    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 117 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 118 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 119 of 238 PageID #:
                                                            722
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 120 of 238 PageID #:
                                                            723
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 121 of 238 PageID #:
                                                            724
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 122 of 238 PageID #:
                                                            725
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 123 of 238 PageID #:
                                                            726
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                                                                                            HAR0133
    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 124 of 238 PageID #:
                                                            727
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                                                                                            HAR0134
    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 125 of 238 PageID #:
                                                            728
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                                                                                            HAR0135
    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 126 of 238 PageID #:
                                                            729
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                                                                                            HAR0136
    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 127 of 238 PageID #:
                                                            730
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                                                                                            HAR0137
    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 128 of 238 PageID #:
                                                            731
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                                                                                            HAR0138
    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 129 of 238 PageID #:
                                                            732
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 130 of 238 PageID #:
                                                            733
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                                                                                            HAR0140
    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 131 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 132 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 133 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 134 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 135 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 136 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 137 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 138 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 139 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 140 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 141 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 142 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 143 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 144 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 145 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 146 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 147 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 148 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 149 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 150 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 151 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 152 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 153 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 154 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 155 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 156 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 157 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 158 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 159 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 160 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 161 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 163 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 164 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 165 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 166 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 167 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 168 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 169 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 170 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 171 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 173 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 175 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 176 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 177 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 178 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 179 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 180 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 181 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 182 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 183 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 184 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 197 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 200 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 201 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 202 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 204 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 205 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 207 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 214 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 216 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 217 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 219 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 229 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24   Page 231 of 238 PageID #:
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    Case 1:24-cv-00313-MJT                     Document 15-2 Filed 09/04/24                Page 237 of 238 PageID #:
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          Attachment           -   p intra e        a     mail

                                                                  Sunday, June 9, 2024 at 08:29:20 Central Daylight Time

           Subject:          Fwd: Tax Form
           Date:             Wednesday, June 5, 2024 at 3:34:55 PM Central Daylight Time
           From:             Peter Harris <ph2corp@gmail.com>
           To:               marshal@thehodalawﬁrm.com <marshal@thehodalawﬁrm.com>
           Attachments: Upwin Trade Tax Form 2.pdf




          Get Outlook for Android

          From: Peter Harris <ph2corp@gmail.com>
          Sent: Wednesday, June 5, 2024 1:33:28 PM
          To: marshal@thehodalawfirm.com <marshal@thehodalawfirm.com>
          Subject: Fwd: Tax Form



          Get Outlook for Android

          From: Peter Harris <ph2corp@gmail.com>
          Sent: Monday, June 3, 2024 10:48:40 AM
          To: payments@upwintrade.com <payments@upwintrade.com>
          Cc: ph2corp@gmail.com <ph2corp@gmail.com>
          Subject: RE: Tax Form

          Hi Upwin Tax team,
          The first tax form I sent had an incorrect fee% of 20%.
          David Sham and Team agreed to 10% fee since it was our first withdrawal.
          Please see attached tax form that is corrected.
          Thanks
          Peter

          -----Original Message-----
          From: payments@upwintrade.com <payments@upwintrade.com>
          Sent: Monday, June 3, 2024 9:27 AM
          To: ph2corp@gmail.com
          Subject: Tax Form

          Hello Peter, Your withdrawal request has been approved. Kindly fill the tax
          form to process withdrawal.

          Regards
          Upwin Tax Team




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Case 1:24-cv-00313-MJT                       Document 15-2 Filed 09/04/24   Page 238 of 238 PageID #:
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